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                           IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


Rebecca Buddenberg,
                                                        Case No. 1:18-cv-00522
          Plaintiff,
                                                        Judge J. Philip Calabrese
    vs.
                                                        Magistrate Judge Jennifer Dowdell Armstrong
Carolyn E. Weisdack, Administrator of the Estate
of Robert K. Weisdack, et al.,

          Defendants


  PLAINTIFF BUDDENBERG’S OPPOSITION TO DEFENDANTS ESTATE OF ROBERT WEISDACK,
    GEAUGA COUNTY HEALTH DISTRICT, GOERGEN, GRAGG, WHITRIGHT, LIVERS, AND
                   WENDELL’S MOTION FOR SUMMARY JUDGMENT



          Plaintiff Rebecca Buddenberg respectfully opposes Defendants Estate of Robert Weisdack,

Geauga County Health District, Timothy Goergen, David Gragg, Catherine Whitright, Christine

Livers, and Alta Wendell’s (“District Defendants’”) summary-judgment motion. ECF No. 217,

PageID#11906–42.

          It is Buddenberg who is entitled to partial summary judgment on retaliation-related claims, as

her own motion (incorporated by reference and which relies almost exclusively on Defendants’

admissions) shows. ECF No. 221, PageID#12022–97. But even if she is not, when all the evidence

is considered and all reasonable inferences are drawn in her favor as the non-moving party, genuine

issues of material fact preclude summary judgment for District Defendants. To the extent not

resolved by Buddenberg’s motion, then, this case must at long last be resolved by a jury.

          A memorandum in support follows.
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             protects taxpayers and citizens. .............................................................................. 3

          B. Rebecca Buddenberg spoke to the board about both Weisdack’s unethical tire-
             contract self-dealing and his sexist pay discrimination before the board asked if
             there was “anything else” she wanted to raise—and she then told them about
             Weisdack’s policy violations and mismanagement. ............................................... 5

          C. Commissioner Weisdack’s bad behavior got worse after Buddenberg’s report to
             the board—so much so that she and her supervisor Dan Mix feared for her
             safety........................................................................................................................ 7

          D. Whether Defendant James Budzik was really acting as a “lawyer” or just a
             hatchet man is hotly disputed. Even board members don’t agree about what he
             was there to do: address Buddenberg’s retaliation claims? Serve as a Weisdack
             chaperone? Why would Weisdack need a chaperone? ........................................... 8

          E. District Defendants subjected Buddenberg to a sham “hearing” just three days
             after drowning her in a barrage of charges; she sought to defend herself and have
             Budzik grasp that she was facing retaliation.. ........................................................ 9

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             pointless anyway because the board members approved of how she was
             treated. .................................................................................................................... 10

          G. Buddenberg endured her suspension, and her demotion took effect immediately,
             her pay was slashed nearly in half, she was immediately cut off from her
             accounts, her work was reassigned, and she was stopped from performing her
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          H. Buddenberg’s ordinary and ad hoc job duties as a fiscal coordinator—as shown by
             Defendants’ admissions and expectations and her prior course of conduct—did
             not include speaking three levels up from her line position to the District’s board,
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   A. Buddenberg engaged in constitutionally protected speech that was not a part of
      her ordinary or ad hoc job duties. ........................................................................... 19

       1. The impetus, setting, and audience for the speech: Buddenberg wanted to
          bring to the board’s attention unethical conduct, illegal discrimination, and
          misconduct by Weisdack that she was not required by her fiscal-coordinator
          role to report. .................................................................................................... 21

            a. Reporting to the board wasn’t part of Buddenberg’s ordinary or ad hoc job
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       2. The subject matter of the speech: Commissioner Weisdack’s unethical
          contractual self-dealing and illegal, sexist pay discrimination—and other
          Weisdack policy violations. .............................................................................. 29

   B. Buddenberg has shown that she was constructively discharged because she has
      shown that the District, intending to force her to quit, deliberately created
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      “adverse” under applicable legal standards; Defendants defy U.S. Supreme Court
      authority and argue the wrong legal standards for adverse actions in retaliation
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       1. Under any standard, Buddenberg faced a series of adverse actions. .............. 34

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   D. Material fact issues—regarding whether Buddenberg’s protected activity was the
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      District Defendants on her Title VII and Equal Pay Act claims. .......................... 43

   E. District Defendants deserve no qualified immunity because, as the Sixth Circuit’s
      Buddenberg decision demonstrates, the First Amendment law protecting public
      employees that they violated was clearly established—and had they been
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   F. This case should proceed to trial on Buddenberg’s claim, under Ohio Rev. Code
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              2. Defendants violated Ohio Rev. Code § 2921.45 because they knowingly
                 deprived, conspired, and attempted to deprive Buddenberg of constitutional
                 and statutory rights........................................................................................... 52

         G. Buddenberg’s Ohio Rev. Code § 4111.17 claim should proceed because
            Defendants retaliated against her for reporting a prohibited wage disparity in
            violation of subsection (D). .................................................................................... 54

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                                   MEMORANDUM IN SUPPORT
I.      Issues Presented

        A.     Private-citizen protected speech. Whether a public employee speaks as a private
               citizen is a legal question. Buddenberg’s passing remarks that she was “just doing
               [her] job” don’t change the legal reality that speaking to the board (over her
               supervisors’ heads) about Weisdack’s gender discrimination, unethical self-dealing,
               and policy violations was never part of her job duties. Should the Court find she
               spoke as a private citizen?

        B.     Constructive discharge. A constructive discharge occurs when (1) an employer
               deliberately created intolerable working conditions such that a reasonable employee
               would have felt compelled to resign; (2) the employer intended to force the employee
               to quit; and (3) the employee quit. Defendants, among other things, changed
               Buddenberg’s working hours, froze her out from communication, forced her
               protective supervisor out, subjected to her to gaslighting charges and a hearing,
               suspended and demoted her—slashing her pay nearly in half, took away her job
               responsibilities, eliminated her job, and reassigned her to a menial, clerical position to
               work for people who disliked her and wouldn’t speak to her. Message received, she
               quit. Should Buddenberg’s constructive-discharge claim proceed?

        C.     Adverse actions against Buddenberg under Title VII, Equal Pay Act/FLSA,
               and First Amendment.

               1.      Title VII/Equal Pay Act/FLSA retaliation. These antiretaliation
                       provisions extend beyond employment-related retaliatory acts and harm and
                       aren’t limited to so-called “ultimate employment decisions.” The above-
                       described adverse actions and others Buddenberg endured would cause a
                       reasonable person not to report discrimination or engage in any other First
                       Amendment-protected free speech. Can a reasonable jury find Buddenberg
                       suffered adverse actions?

               2.      Demotion. An effective demotion occurs when an employer slashes an
                       employee’s compensation by nearly half, strips her of previous job
                       responsibilities, and assigns her to menial, clerical work, even if she resigns
                       before serving in the new role but experiences the slashed pay. All these
                       things happened to Buddenberg. Can a reasonable jury find that she was
                       demoted?

               3.      Exhaustion of appeal rights. An employee can suffer adverse actions
                       without having “exhausted internal appeal rights” when the claims she
                       pursues contain no such requirement and the attempt would be futile in any
                       event. Buddenberg knew, and was told, that there was no point in appealing,
                       to the board, the board’s own decision. Can a reasonable jury find
                       Buddenberg suffered adverse actions despite not having exercised



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                  (ineffective) appeal rights?

          4.      Objective standard. An adverse action, for purposes of First Amendment
                  retaliation, is one that would dissuade a person of reasonable firmness from
                  engaging in further protected activity, even if the complainant herself was not
                  so dissuaded. Can a reasonable jury find that Buddenberg suffered adverse
                  action despite continuing to lodge complaints?

   D.     Title VII/Equal Pay Act causation. Whether, for purposes of a Title VII or Equal
          Pay Act claim, a particular protected activity or set of activities was the “but-for”
          cause of an employer’s adverse actions is a question of fact. In her motion for partial
          summary judgment, Buddenberg, through the use of Defendants’ own admissions,
          demonstrated several causal connections between her protected activities and
          Defendants’ adverse actions. To the extent it’s not resolved by Buddenberg’s
          motion, should the issue of causation be submitted to a jury?

   E.     Qualified Immunity. Individual government officials are liable for constitutional
          violations when they violate clearly established law of which a reasonable official
          would have known. Supreme Court and Sixth Circuit authorities hold that the speech
          of a public employee who blows the whistle as a private citizen on corruption and
          illegal conduct is protected. Defendants admit such speech wasn’t part of her job
          duties. Should the Court find Buddenberg’s speech was protected and the individual
          Defendants aren’t immune?

   F.     Ohio Rev. Code § 2921.05. This statute’s plain language doesn’t require that a
          public servant “be involved in a civil or criminal action” in the discharge of her
          duties, but only that she was discharging her duties. If the Court finds Buddenberg
          discharged her duties (including duties unrelated to her speech but for which she
          endured retaliation), may she proceed through Ohio Rev. Code § 2307.60 with this
          claim?

   G.     Ohio Rev. Code § 2921.45. This statute criminalizes a government official’s
          violations of both constitutional and statutory rights. The record contains substantial
          evidence that District Defendants committed violations both of the First and
          Fourteenth Amendments and of Title VII, Ohio Rev. Code §§ 4112 and 2921.05, as
          well as of the federal and state Equal Pay Acts and Fair Labor Standards Acts.
          Should the Court submit Buddenberg’s § 2921.45-through-Ohio Rev. Code
          § 2307.60 claim to a jury?

   H.     Ohio Rev. Code § 4111.17. This statute prohibits an employer both from (subsection
          (A) engaging in pay discrimination based on certain classifications including gender
          and from (subsection (D)) retaliating against an employee who complains about such
          pay discrimination, whether against the complainant or another employee.
          Buddenberg complained about the disparate pay received by a male and a female co-
          worker. Is she protected from retaliation by § 4111.17(D)?




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         I.     Ohio Rev. Code § 4112.02(J). This statute imposes liability on any “person” who
                aids or abets a discriminatory practice. Because the term “person” is construed
                broadly, it applies to entities such as the Health District. And even if the statute is
                construed, implausibly, to apply only to affirmative acts, the record contains
                substantial evidence that each of the District Defendants engaged in such acts.
                Should the Court submit Buddenberg’s § 4112.02(J) claim to a jury?

II.      Statement of facts

         Because Geauga County Health District Defendants’ motion targets only certain narrow

legal issues, Plaintiff Rebecca Buddenberg will present only facts relating to those issues; she will not

present a comprehensive set of facts detailing all her evidence or revealing all material-fact disputes.

(She does, however, reserve the right to refer to any such evidence in oral argument or appellate

proceedings.) She also incorporates all evidence regarding the undisputed facts presented in her own

summary-judgment motion (ECF No. 221) and the content of her concurrently filed opposition to

Defendant Budzik’s summary-judgment motion.

         District Defendants offer no grounds to justify their imposition of discipline against

Buddenberg for alleged “Group 3 offenses” or to explain why such discipline was not bogus and

pretextual. Buddenberg’s expert report and testimony from Rob Wolff, which explain why all the

accusations against her were nonsense, now stand unrebutted, as do Defendant Weisdack’s

deposition admissions walking back many of his baseless accusations.

      A. Rebecca Buddenberg wanted to work in an environment that is ethical and protects
         taxpayers and citizens.

         District Defendants assert that “Buddenberg’s dislike for Weisdack ran deeper than

functionality—repeatedly describing him as evil and scum.” District Defs.’ Mot. Summ. J., ECF No.

217, PageID#11913.1 But Buddenberg also said the following:


1 Even if the distorted picture District Defendants try to paint were true—which it isn’t—Defendants fail to
show how Buddenberg’s subjective motives for her protected activity are relevant to whether her whistleblower
activity is protected under the First Amendment, Title VII, and the other relevant statutes. As shown below,
they are not. Nor do Buddenberg’s motives bear on or excuse Defendants’ behavior—which is what this
lawsuit is about. Defendants can’t now raise these things for the first time on reply.


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    •   Asked if she didn’t want Weisdack to stay on as Health Commissioner, she replied: “I

        wanted to work in an environment that was ethical and protected the citizens. That’s what I

        wanted. Whether or not it was him as the commissioner or not, it was irrelevant.”

        Buddenberg Dep. Vol. 1, ECF No. 203-1, at 90:21–91:1, PageID#8550–51.

    •   Buddenberg believed that “steps need to be in place to protect public money, and that was

        [her] primary concern as a taxpayer, as someone who lives in Geauga County, that our funds

        were utilized in the way that they should be.” Id. at 116:19–24, PageID#8576.

    •   She “wanted a work environment where I could be proud to attach my name to, where I

        knew that taxpayer dollars were being used appropriately.” Id. at 239:9–11, PageID#8699.

    •   She also hoped that expressing her concern to the board would lead to better work

        conditions. Asked if, by that, she meant getting rid of Weisdack, she responded, “It could

        have been just being aware and making changes to effect how it’s run. That’s its role, be able

        to hold leadership accountable and to be ethical. So my hope and belief was their being

        aware would—I’m just me. I just asked them in their position of leadership to make it an

        ethical taxpayer-accountable, transparent location.” Id. at 138:16–139:9, PageID#8598–99

        (cleaned up).

    •   Asked if she disliked Weisdack, she answered that she disliked how he was treating her. Asked

        if she thought he was evil, she said she thought his behavior was evil. Buddenberg Dep. Vol.

        3, ECF No. 205-1, at 105:10–106:10, PageID#9118–19. (And the evidence shows her beliefs

        to be true.) Weisdack was retaliating against her at the time, so the answer is complex but




    Defendants’ arguments seeking to “dirty up” Buddenberg are so irrelevant and substantially outweighed
by their prejudicial effect that they be the subject of a motion in limine at trial. Retaliation jurisprudence
doesn’t require retaliation victims to turn the other cheek or meditate and levitate above their feelings about
discriminating, unethical, retaliating bosses. Human beings are allowed to feel devastated and angry about
inhumane—and illegal—conduct.


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        rooted in his treatment of her. Id. at 147:6–148:15, PageID#9160–61. To be sure, her

        attitude toward Weisdack grew more negative after he began retaliating against her. Id. at

        110:24–111:6; PageID#9123–24.

        District Defendants assert: “Buddenberg hoped her report to the Board would assure

Weisdack’s contract was not renewed.” District Defs.’ Mot. Summ. J., ECF No. 217,

PageID#11915. But Buddenberg’s motives are irrelevant to the protected nature of her speech.

(And besides, what would be wrong with not wanting an unethical, self-dealing, gender-discriminating

public-sector manager to continue his reign of malfeasance?) Defendants’ statement is also

misleading. See Buddenberg Dep. Vol. 1, ECF No. 203-1, at 162:7–14 and 167:9–168:9,

PageID#8622, 8627–28. Buddenberg repeatedly said her hope was that the retaliation would end

and that her circumstances would improve after she reported ethical concerns to the board. She

added, “If the retaliation would end with Mr. Weisdack’s termination, then yes, I would have

preferred that.” She “wanted a work environment where I could be proud to attach my name to,

where I knew that taxpayer dollars were being used appropriately” Id. at 239:9–11, PageID#8699.

    B. Rebecca Buddenberg spoke to the board about both Weisdack’s unethical tire-
       contract self-dealing and his sexist pay discrimination before the board asked if there
       was “anything else” she wanted to raise—and she then told them about Weisdack’s
       policy violations and mismanagement.

        Defendants claim that “In late October 2016 … Buddenberg had two specific workplace

concerns [the tire contract and the pay disparity].” That’s true, but she had others as well:

    •   Buddenberg reported to the board her concerns about the unequal-pay practices and

        potential conflict of interest. Ex. 120 (Dist. Defs.’ Answer to Req. for Admis.), ECF No.

        196-13, PageID#5524; District 30(b)(6) (Litke) Dep. 44:24–45:4, 54:17–25, ECF No. 179-1,

        PageID#1577–78, 1587; Gragg Dep. 25:5–17, 30:2–6, ECF No. 188-1, PageID#3687, 3692;

        Whitright Dep. 16:8–25, 22:15–20, ECF No. 189-1, PageID#3999, 4005.)




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    •   See Pl. Buddenberg’s Mot. for Summ. J., ECF No. 221, PageID#12040 for the list of other

        concerns she reported, all documented and cited throughout that brief via Defendants’ own

        admissions and in her post-meeting memo to the Board.

    •   Ex. 25, ECF No. 194-26, PageID#4747–49 (showing Buddenberg had other concerns,

        which she reported to the board).

    •   The pay-disparity and self-dealing “combined made me concerned that ethical practices were

        not being followed.” She never said those two issues were the full extent of her concerns;

        those issues “brought it to a head” in Fall 2016, prompting her to reach out to the board.

        Her public concern was ethical misconduct—of which she came with those two primary

        examples. Buddenberg Dep. Vol. 1, ECF No. 203-1, at 81:2–82:6, PageID#8541–8542.

        District Defendants claim, “At the meeting on October 24, 2016, Buddenberg reported only

the tire issue.” District Defs.’ Mot. Summ. J., ECF No. 217, PageID#11914. Not true. Buddenberg

reported not just Weisdack’s sleazy self-dealing for the tire contract, but also his gender-

discriminatory pay practices. See, e.g., Buddenberg Suppl. Decl. at ¶ 9; ECF No. 257-1,

PageID#14653 (“I went to the October 24, 2016 board meeting—an opportunity I had specifically

requested earlier that month—prepared to and intending to speak about both those issues. And I

definitely did speak about both in my opening presentation. When the board asked me about whether

there was anything else (which I did not hear as an order or “directive” to speak), I then talked about

Weisdack’s additional policy violations and mismanagement. That was never part of my job either.

In my depositions, the District’s lawyer kept interrupting me and never gave me a chance to clearly

explain what happened at the board meeting.”); Ex. 4 (Buddenberg Resignation Letter), ECF No.

194-4, PageID#4587 (“On October 24, 2016, I chose, as a responsible citizen, to bring serious

concerns about Mr. Weisdack’s ethical violations relating to a tire contract and his unequal-pay

practices to the Health District Board’s attention…”); Ex. 5, Mix Decl. at 4 ¶ 20, ECF No. 194-5,


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PageID#4593 (“After Rebecca reported ethical violations and pay disparities to the Board on

October 24, 2016…); Buddenberg Decl. at 1 ¶ 4, ECF No. 214-1, PageID#11745 (Buddenberg

reported several other issues to the board); Goergen Dep. Vol. 1, ECF No. 186-1, at 50:9–51:8,

PageID#3305–06.

       District Defendants assert: “After reporting her concerns with the tire removal, the Board

asked Buddenberg, ‘Is there anything else we should be aware of Is [sic] there any other concerns

that you have on Weisdack’s behavior or practices.’” They fail to disclose that she said that “the two

items together combined made me concerned that ethical practices were not being followed….”

Buddenberg Dep. Vol. 1, ECF No. 203-1, at 82:1–3, PageID#8542, making an inference that she

(the non-moving party) spoke to both issues in her opening remarks. In any case, she clears up any

purported confusion in her Supplemental Declaration quoted in the paragraph above.

   C. Commissioner Weisdack’s bad behavior got worse after Buddenberg’s report to the
      board—so much so that she and her supervisor Dan Mix feared for her safety.

       District Defendants assert: Buddenberg “concedes Weisdack was degrading and

demoralizing to the staff both before and after her reports to the Board.” Again, besides being

irrelevant and hardly a “concession,” this is misleading. See Ex. 5, Mix Decl. at 4 ¶ 24, ECF No. 194-

5, PageID#4593–94 (after board report, “I observed that certain staff, especially in the

environmental-health department, also became unkind and discourteous to Rebecca, such as Tammi

Mullin and Bob’s assistant Alta, as well as plumbing inspector Gayle Duncan.”); id. at ¶ 26, ECF No.

194-5, PageID#4594 (“Bob became volatile at staff meetings.”); id. at ¶ 27, ECF No. 194-5,

PageID#4594 (after report, “Bob’s behavior was so intimidating that there were times Rebecca and

I communicated about whether it was safe for her to be at the office. On some occasions, I steered

him out of the building when he was angry.”)




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    D. Whether Defendant James Budzik was really acting as a “lawyer” or just a hatchet
       man is hotly disputed. Even board members don’t agree about what he was there to
       do: address Buddenberg’s retaliation claims? Serve as a Weisdack chaperone? Why
       would Weisdack need a chaperone?

        District Defendants assert: Budzik was retained as “outside legal counsel in connection with

civil service matters pertaining to the appointment, retention, and discipline of public employees,

including Mix and Buddenberg.” This is hotly disputed—even by some Defendants. See, e.g., Board

chair Goergen Dep., Vol. 1, ECF No. 186-1, 129:16–20, PageID#3384 (board chair proclaiming

Budzik to be Weisdack’s “chaperone” “because of the sensitivity and history relative to Ms.

Buddenberg’s allegations and Bob’s direct supervisory capacity in that role.”); id. at 127:2–13,

PageID#3382 (Budzik hired “at the same time we hired Jeff Embleton. We hired the firm and then

Jeff did the initial compliance review and then Jim Budzik was assigned to help provide legal advice

on human resource issues”); id. at 122:2–14, PageID#3377 (scope of the firm’s compliance review

included investigating Buddenberg’s allegations from October 24, 2016 and her retaliation allegations

that followed); id. at 128:7–9, Page ID#3383 (refusing to answer the question: “So are you saying

that as a Board member you had no understanding of what Jim Budzik’s role was?”); Board-member

Whitright Dep., ECF No. 189-1, at 85:2–87:12, PageID#4068–70 (board member unsure when

board hired Budzik, but agrees Mansour Gavin was hired to investigate Buddenberg’s retaliation claims);

Board-member Gragg Deposition, ECF No. 188-1, 118:21–119:6, PageID#3780–81. (“I definitely

don’t know, to tell you the truth, how Jim Budzik came into the whole operation… Budzik came

into it and it wasn’t explained to me… So I’m not sure what Mr. Budzik’s job duties were or what he

was tasked with and by whom, to tell you the truth”); id. at 137:5–6, PageID#3799 (“I don’t know

what Jim Budzik was doing”); id. at 143:22–144:1, Page ID#3805–06 (“We hired Mansour Gavin to

do the review and were introduced to Jeff Embleton. And then somewhere along the way Jim

Budzik showed up and I don’t know how, why or where.”); id. at 144:22–24, 188:12–13,




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PageID#3806, 3850 (admitting Budzik took part in drafting the disciplinary notice but “I don’t have

any knowledge of what Jim Budzik did.”).

        Budzik—a seasoned, senior lawyer at his firm—claimed not to know whether there was a

separate engagement agreement related to his representation beginning in January 2017. Budzik

Dep. Vol. 1, ECF No. 183-1, 99:9–14, PageID#2782. Neither the District nor Budzik produced

such an agreement in discovery. The District, through counsel, confirms that none exists. See Email

from Spyker to Chandra dated September 17, 2022, ECF No. 252-2, PageID#14549. So no

engagement agreement exists defining the scope of representation or even whether this really was a

“legal” representation.

        Or just a hatchet job under the veneer of legal representation. As detailed in the Statement

of Facts in Buddenberg’s opposition to Defendant Budzik’s summary-judgment motion—including

the discussions of the expert conclusions of longtime public-sector defense counsel Robert Wolff

and legal ethicist William B. Leahy—given Budzik’s behavior, including professional-norm-and-

responsibility violations, all signs point to the latter. Someone who happened to be a lawyer was just

joining in on the retaliation in extralegal fashion. On this record and as the non-moving party,

Buddenberg is entitled to that factual inference.

    E. District Defendants subjected Buddenberg to a sham “hearing” just three days after
       drowning her in a barrage of charges; she sought to defend herself and have Budzik
       grasp that she was facing retaliation.

        District Defendants assert: “During the [March 3, 2017 pre-disciplinary] hearing,

Buddenberg was afforded the opportunity to be heard and present evidence. She consistently

refused to do that, though. Overall, she only denied one of the charges. She just asserted the charges

were retaliatory and offered excuses.” This is both fabricated and hotly disputed. See and hear generally

Exs. 61-A & 13-A (Transcript and Audiorecording of Mar. 3, 2017 “hearing”), ECF Nos. 195-12,

220, PageID#4944–95, PageID#12021; Buddenberg Decl. at 2 ¶ 10, ECF No. 214-1,



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PageID#11746–47 (Buddenberg did, in fact, offer several defenses and present exculpatory

documentary evidence during the hearing); Budzik Dep. Vol. 1, ECF No. 183-1, 115:20–23,

PageID#2798 (“Ms. Buddenberg had provided several documents for the consideration of the

defense against the administrative charges.”); Buddenberg Dep. Vol. 1, ECF No. 203-1, at 212:20–

24, PageID#8672 (Buddenberg provided a statement from intern Kelly (id. at 212:10–13,

PageID#8672) debunking the shredding allegation, and referenced co-worker documents, including

an email from the auditor’s office, illustrating certain allegations’ falsity). Buddenberg incorporates

the facts presented about the hearing in her own summary-judgment motion (ECF No. 221,

PageID#12054–60) and her concurrently filed, more-detailed opposition to Budzik’s motion.

    F. Defendant James Budzik prevented Buddenberg from benefiting from any supposed
       internal “appeals”—and the board chair agrees it would have been pointless anyway
       because the board members approved of how she was treated.

        District Defendants assert: “Under the Personnel Policy, Buddenberg had … the ability to

address the [disciplinary] findings with the Board. Yet she chose not to do so. Accordingly, the

Board accepted the recommended discipline.” District Defs.’ Mot. Summ. J., ECF No. 217,

PageID#11918. This, too, is legally irrelevant because the First Amendment, Title VII, Ohio Rev.

Code 4112, and Equal Pay Act do not require exhaustion of administrative remedies. Even if

exhaustion were required, Defendants themselves prevented Buddenberg from exercising her rights.

See, e.g., Ex. 13, Buddenberg Aff. at 2 ¶ 6, ECF No. 194-13, PageID#4659 (in his post-hearing

meeting, Budzik denied Buddenberg’s request to speak to the board). And going to the board about

its own decision would have been futile. Goergen Dep. Vol. 2, ECF No. 187-1, at 230:10–231:19,

PageID#3527–28 (District’s board chair agrees there’s no point in appealing after the board

approves the decision).

    G. Buddenberg endured her suspension, her demotion took effect immediately, her pay
       was slashed nearly in half, she was immediately cut off from her accounts, her work
       was reassigned, and she was stopped from performing her fiscal-coordinator role.



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       District Defendants assert: “Before working a single day in her new role, Buddenberg

requested a leave of absence.” They also claim: “Her planned demotion never took effect because

she did not work a single day in the position.” District Defs.’ Mot. Summ. J., ECF No. 217,

PageID#11918. Both statements are highly misleading and improperly demand incorrect inferences

in the movants’ favor. Defendants fail to disclose to this Court that they cut Buddenberg off from

her accounts (including access to essential key shared computer drives) right after the March 3, 2017

hearing, before she was told of the board’s fait accompli punishment decision. That and the lack of

communication impeded her ability to execute any duties before or later. Buddenberg Dep. Vol. 2,

ECF No. 204-1, 311:1–313:9, Page ID#8865–67. Buddenberg was immediately stripped of her

duties, effectively demoted, and placed in shame-and-humiliation corner. And the District and

Weisdack immediately reassigned her duties to others. Id. at 304:19–306:16 and 310:22–313:24,

PageID#8858–60, 8864–67. The District even eliminated her job from its organizational chart. Ex. 9

(March 13, 2017 Board of Health meeting minutes), ECF No. 194-9, PageID#4640–41.

       District Defendants fail to disclose that they also slashed Budddenberg’s pay nearly in half

effective March 21 or 24, 2017, an act that reinforces the conclusion that she did suffer the demotion

before she quit. See Ex. 68 (suspension and demotion order dated Mar. 16, 2017), ECF. No. 195-19,

PageID#5167, 5170 (pay rate slashed effective Mar. 21, 2017); Ex. 72 (payroll records), ECF No.

195-23, PageID#5235–37 (showing that as of June 20, 2016, she’d had been earning $19.75/hr, but

that effective Mar. 24, 2017, Defendants had slashed her pay nearly in half to $10.25/hr).

   H. Buddenberg’s ordinary and ad hoc job duties as a fiscal coordinator—as shown by
      Defendants’ admissions and expectations and her prior course of conduct—did not
      include speaking three levels up from her line position to the District’s board, no
      matter what moral or subjective obligation she felt.

       District Defendants assert: “According to Buddenberg, when she went before the Board, she

was ‘just doing her job.’” District Defs.’ Mot. Summ. J., ECF No. 217, PageID#11919. This is

misleading, and the moving Defendants improperly demand inferences in their favor. Buddenberg

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specifically said about this quote that it was not her job to speak or report to the board. Buddenberg

Dep. Vol. 3, ECF No. 205-1, 114:24–116:7, PageID#9127–29. And, by Defendants’ own

admissions, there is no evidence to the contrary. Neither her ordinary nor any ad hoc job duties

included reporting to the board on perceived ethical violations, policy violations, or gender-pay-

equity issues. See, e.g., Weisdack Dep. Vol. 1, 33:23–34:14, ECF No. 180-1, PageID#1987–88;

Whitright Dep. 42:11–44:3, ECF No. 189-1, PageID#4025–27. Her formal job description didn’t

include reporting ethical issues to the board. Ex. 37 (fiscal-coordinator job description), ECF No.

194-38, PageID#4830–34; Weisdack Dep. Vol. 1, ECF No. 180-1, at 31:20–24; 33:23–34:14, 168:6–

11, PageID#1985, 1987–88, 2122; Whitright Dep., ECF No. 189-1, at 42:11–44:3, 45:13–20,

PageID#4025–28; District 30(b)(6) (Litke) Dep., ECF No. 179-1, at 90:17–100:5, PageID#1623–33.

Weisdack told her staff shouldn’t even go to board meetings. Buddenberg Suppl. Decl. at ¶ 3, ECF

No. 257-1, PageID#14651; Ex. 154 (includes Email exchange from Sept. 15, 2015 and Buddenberg

notes of Weisdack directive), ECF No. 196-47, PageID#5996. And her supervisor Dan Mix warned

her not to go to the board. Mix Dep. Vol. 3 at 133:10–16, ECF No. 208-1, PageID#10372.

        All government employees have a moral/ethical responsibility to report misconduct.

Goergen Dep. Vol. 1, ECF No. 186-1, at 45:4–22 and 47:13–20, PageID#3300, 3302; District

30(b)(6) (Litke) Dep., ECF No. 197-48, at 225:25–226:4, PageID#7649–7650; Wendell Dep. Vol. 1,

ECF No. 190-1, at 81:1–84:22, PageID#4333–36 (all employees are “supposed to report things that

they see that are wrong,” id. at 81:20–25, PageID#4333, but doesn’t know whether reporting ethical

violations was part of Buddenberg’s ordinary job duties, id. at 83:22–84:22, PageID#4335–36).

Weisdack himself told Buddenberg that staff shouldn’t go to board meetings because it isn’t normal

and board members will be concerned if they attend. Buddenberg Suppl. Decl. at ¶ 3, ECF No. 257-

1, PageID#14651; Ex. 154 (includes Buddenberg and Weisdack email exchange of Sept. 15, 2015

and Buddenberg notes), ECF No. 196-47, PageID#5996. Based on these facts, District Defendants’



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insistence that Buddenberg reported her concern about the tire contract to the board “pursuant to

her role as fiscal coordinator” is incorrect.

        District Defendants assert: After Buddenberg reported her concern about the tire contract

on Oct. 24, the Board “directed that Buddenberg tell them what other concerns she had regarding

Weisdack and the Health District. At the Board’s request, Buddenberg communicated remaining

concerns regarding Weisdack.” District Defs.’ Mot. Summ. J., ECF No. 217, PageID#11923.

Defendants fail to tell this Court that, in a contemporaneous email, Buddenberg memorialized to the

board that she reported the tire-contract issue and unequal-pay practices first, and then, after being

asked if there were additional concerns, presented other “miscellaneous concerns” about Weisdack’s

conduct. Ex. 25 (Buddenberg email dated Nov. 13, 2016 memorializing her board speech), ECF No.

194-26, PageID#4747. See also Buddenberg Dep. Vol. 1, ECF No. 203-1, 81:2–82:6, PageID#8541–

8542 (Buddenberg starting to explain her board speech, saying that she needed her detailed notes

but being interrupted by defense counsel, and also saying that the two issues—tire contract and pay

equity—brought the issue to a head and that she told the board there could be retaliation);

Buddenberg Suppl. Decl. at ¶ 9, ECF No. 257-1, PageID#14653 (she went to board meeting

“prepared to and intending to speak about” both tire contract and pay discrimination and “definitely

did” in her “opening presentation”; when the board asked her “whether there was anything else

(which I did not hear as an order or “directive” to speak),” she then talked about “Weisdack’s

additional policy violations and mismanagement.”).

        District Defendants assert: “None of these complaints had any immediacy.” District Defs.’

Mot. Summ. J., ECF No. 217, PageID#11923. Beyond being irrelevant, this statement is untrue.

When, months earlier, Buddenberg first expressed concern about the unequal pay Amanda Hill was

suffering, Weisdack—by his own admission—didn’t correct the disparity. Weisdack Dep. Vol. 1 at

141:15–18, ECF No. 180-1, PageID#2095. See also Buddenberg Dep. Vol. 1, ECF No. 203-1, 62:1–



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9, PageID#8522 (“Mr. Weisdack was presented with this and chose not to act on correcting it.”); id.

at 68:10–12, PageID#8528 (Hill and Tusick expressed “concern” over the “substantial difference”

in pay); id. at 76:7–11, PageID#8536 (Hill was “disturbed that her pay was significantly less”). Also,

when Buddenberg reported Weisdack’s misconduct, the board was considering renewing his

contract, see, e.g., Gragg Dep., ECF No. 188-1, 236:18–237:2, PageID#3898–99, so the complaints

she made about Weisdack had some immediacy (for whatever dubious relevance that might have).

        District Defendants assert: Buddenberg was responding to a direct board request for

information about her employment. District Defs.’ Mot. Summ. J., ECF No. 217, PageID#11923.

But they fail to disclose that, before the board meeting, Buddenberg emailed members that she had

concerns about leadership she wanted to present. Gragg Dep., ECF No. 188-1, 17:4–10,

PageID#3679; Goergen Dep. Vol. 1, ECF No. 186-1, 14:12–20, PageID#3269; Buddenberg Dep.

Vol. 1, ECF No. 203-1, 82:24–83:7, PageID#8542–43; Buddenberg Suppl. Decl. at ¶ 9, ECF No.

257-1, PageID#14653. That is, she initiated the speech; it didn’t happen at the board’s request.

        District Defendants assert: “Buddenberg’s [resignation letter] lists a change in work hours,

rudeness by Mr. Weisdack, and the demotion as the reasons she considered the environment hostile.

But there was no talk of resigning until she was demoted.” District Defs.’ Mot. Summ. J., ECF No.

217, PageID#11926 (citing ECF No. 204-23, PageID#9009). Here again, relevance of her few

examples aside, Defendants misrepresent the record. Buddenberg had expressed concern about her

future with the District two months earlier: “The negative result of my commitment, endless

personal attacks, a hostile environment, sleepless nights and grave concern for my future ability to

remain employed in a position I have done successfully, am qualified to do and have passion for.” Ex.

84 (Email from R. Buddenberg to C. Livers and J. Embleton dated Jan. 24, 2017), ECF No. 195-35,

PageID#5275 (emphasis added). But Defendants fail to disclose this email.




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        District Defendants assert: “Buddenberg effectively conceded she was going to accept the

demotion, until her supervisor was changed to Ms. Wendell in that demotion.” District Defs.’ Mot.

Summ. J., ECF No. 217, PageID#11926. Not so. Buddenberg discussed her decision not to return

in her deposition. Buddenberg Dep. Vol. 2, ECF No. 204-1, 342:21–345:6, PageID#8896–99. Asked

why she didn’t “try it out,” Buddenberg responded that she “could not return knowing what I knew

of being under Alta, being in the environmental health department. Those were the people who

treated me horribly.” Id. at 343:6–9, PageID#8897. The problem was with multiple people in the

environmental-health division—not just Wendell—who refused to communicate with her. See id. at

344:9–18, PageID#8898. See also Vol. 1, 177:20–24, ECF No. 203-1, 180:9–181:25, and 231:18–22,

PageID#8640–41, 8691 (describing failures and delays in those employees’ providing needed

information). She also knew Wendell was simply an extension of Weisdack and doing his bidding.

Buddenberg Dep. Vol. 2, ECF No. 204-1, 343:14–16, PageID#8897 (Wendell wouldn’t talk to her

and “had to comply with whatever Bob directed her to do.”) Defendants leave out that they had also

already slashed her pay nearly in half.

        District Defendants assert: “So there is no dispute, but-for the demotion to being supervised

(for the first time) by Ms. Wendell in Environmental Health, she would not have resigned.” District

Defs.’ Mot. Summ. J., ECF No. 217, PageID#11926. Defendants’ effort (however irrelevant) to

isolate Buddenberg’s decision, and to wish away everything else she had endured, is belied by the

evidence. Everett Buddenberg Dep., ECF No. 244-1, 13:15, 14:2–6, 15:17–19, PageID#14081–83

(“I remember her coming home pretty upset”; “So all this distraughted [sic] her and she was basically

very emotional about it and confused… it was very confusing for her”; “…she was confused. She

felt rejected. She felt humiliated, fearful, frustrated”). See also R. Buddenberg Dep. Vol. 2, ECF No.

204-1, 337:16–25, PageID#8891 (although Buddenberg was struggling, she didn’t want to resign

from her dream job; id. at 335:19–22 and 336:25–337:3, PageID#8889, 8890–91) (expressing



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concerns about health insurance and a wish to “stay and work” and get better). Explaining her final

decision to resign rather than return to the office, she stressed that it “was just not a good

environment” for her to work in. Id. at 342:21–345:6, PageID#8896–99. With the board backing

Weisdack no matter what he did, and with her pay lopped nearly in half, she had (reasonably) given

up hope that her situation would improve when she was placed in the environmental-health

department under retaliatory Wendell. But her decision didn’t rest entirely on that. It was instead the

“cumulative effect” of everything she had endured, most recently the suspension, demotion, and pay

cut. Buddenberg Suppl. Decl. at ¶ 11, ECF No. 257-1, PageID#14653.

         District Defendants assert: “Buddenberg had never worked under Ms. Wendell before.”

District Defs.’ Mot. Summ. J., ECF No. 217, PageID#11927. Relevance aside, Defendants neglect

to mention that Buddenberg had worked with her. Wendell had aided and abetted Weisdack’s

retaliation by ostracizing Buddenberg and failing to respond to work-related needs. Buddenberg

Dep. Vol. 1, ECF No. 203-1, 180:9–181:25, PageID#8640–41; Wendell Dep. Vol 1, ECF No. 190-1,

44:3–6, 44:9–45:6, 53:19–23, 85:3–86:5, PageID#4296–97, 4305, 4337–38 (Wendell doesn’t dispute

Buddenberg’s testimony about Wendell’s own behavior).

         District Defendants assert: “Buddenberg was given notice she was demoted. On April 3,

2017, instead of returning, she requested two leaves of absence.” District Defs.’ Mot. Summ. J., ECF

No. 217, PageID#11928. Defendants’ timeline is off. Buddenberg received notice of her suspension

and demotion on March 16, 2017. The official demotion date was March 21, 2017. She worked

stripped of her duties and access to software and documents with her duties already reassigned until the suspension.

Buddenberg Decl. at ¶ 11, 12, ECF No. 214-1, PageID#11747–48. She endured suspension without

pay on March 21, 22, and 23, 2017. She took vacation and sick leave time. She then requested leave

on April 3, 2017. Ex. 68, ECF No. 195-19, PageID#5167.

         District Defendants assert: Buddenberg’s change in working hours was not an intolerable act



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because she worked those hours for about six months before she resigned. District Defs.’ Mot.

Summ. J., ECF No. 217, PageID#11930. But the change in hours did affect her ability to complete

college-course credits. Whitright Dep., ECF No. 189-1, 47:19–25, PageID#4030. See R. Buddenberg

Dep. Vol. 1, ECF No. 203-1, 123:2–10; 132:11–13, PageID#8583, 8592 (needed work-hour

flexibility for college and caretaking for grandchildren; attending online college at the time). And the

change in hours affected her ability to help care for her grandson (i.e., impeded her “care taking

ability”). Id.; Everett Buddenberg Dep., ECF No. 244-1, 45:1–46:3, PageID#14113–14. Buddenberg

Suppl. Decl. at ¶ 12, ECF No. 257-1, PageID#14653–54. While changing her working hours alone

may not necessarily have been an intolerable act, combined with the relentless barrage of retaliation

that followed it had a cumulative effect. Defendants forget that they also ignored her when she

needed information to do her job, deprived her of her protective supervisor, leveled bogus charges

against her, put her through a grueling and gaslighting hearing, suspended her without pay, demoted

her, slashed her pay nearly in half, delayed her leave requests, and transferred her to a division where

everyone knew others didn’t like her. Id. at ¶ 11, PageID#14653.

        District Defendants assert: Buddenberg alleges Weisdack made “comments to her and to

others (i.e., gossip).” District Defs.’ Mot. Summ. J., ECF No. 217, PageID#11934. Again,

Defendants improperly seek inferences in their favor because it was far worse than that: Ex. 5, Mix

Decl. at 4 ¶ 23, ECF No. 194-5, PageID#4593 (Weisdack was disparaging Buddenberg—“After

Rebecca reported to the Board, Bob also attacked Rebecca’s character to me and to other

employees, calling her untrustworthy and telling us not to talk to her.”) She was being mistreated.

Mix Dep. Vol. 3, ECF No. 208-1, 8:1–8, PageID#10247); Mix Dep., Vol. 1, ECF No. 206-1, 50:1–5,

PageID#9564 (“Bob has had some bad interactions with Rebecca and has told some employees not

to trust her. So he is kind of pitting some employees against her and making it a very difficult

situation for her...”); Id. at 135:3-4, Page ID#9649) (Defendant Wendell told Mix that Weisdack said



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not to trust Buddenberg); Wendell Dep. Vol. 2, ECF No. 191-1, 157:3–13, PageID#4441 (Wendell

doesn’t dispute this); Mix Dep., Vol. 1, ECF No. 206-1, 143:4–15, PageID#9657 (Mix overheard

Weisdack tell Herb Shubick: “…he doesn’t trust her, that he shouldn’t trust her either, that Herb

shouldn’t trust her either, to watch your back because she’s going after me, and she’s going to come

after you”).

        District Defendants assert: Buddenberg has “not provided a single piece of evidence –

during discovery—supporting [her allegation that she was forced to drop college classes].” District

Defs.’ Mot. Summ. J., ECF No. 217, PageID#11934. Yes, she has. See R. Buddenberg Dep. Vol. 1,

ECF No. 203-1, 123:2–10; 132:11–13, PageID#8583, 8592 (needed work-hour flexibility for college

and caretaking for grandchildren; attending online college at the time); Whitright Dep., ECF No.

189-1, 47:19–25, PageID#4030; Buddenberg Suppl. Decl. at ¶ 12, ECF No. 257-1, PageID#14653–

54. And factual inferences should be in her favor as the non-moving party.

        There is no question, moreover, that in taking all these actions Defendants intended to force

or at least encourage Buddenberg to quit. Weisdack, for one, made no secret of his own wishes. In

the disciplinary-action notice he signed and gave to Buddenberg, he suggested just this solution:

"Finally, you have the right to resign your employment prior to the pre-deprivation hearing as part

of the administrative process." Ex. 68 (Notice of Proposed Disciplinary Action), ECF No. 195-19,

PageID#5166. There would’ve been no reason to say that unless Defendants wanted her to quit.

        District Defendants assert: “Buddenberg complains of actually being afforded her due

process rights by way of a pre-deprivation hearing.” District Defs.’ Mot. Summ. J., ECF No. 217,

PageID#11934. Buddenberg’s point is that the “hearing” was a sham. Budzik was dismissive and

unfair—“vindictive” was her word. Buddenberg Dep. Vol. 2, ECF No. 204-1, 374:14–375:21,

PageID#8928–29. Andrews Dep., ECF No. 212-1, 28:3–4, PageID#11475 (Budzik was “incredibly

brutal, rude, and pompous.” (cleaned up). As Buddenberg explains:



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          Attorney James Budzik, of Mansour Gavin, was closely involved in the retaliatory
          disciplinary process against me. Mr. Budzik, for example, conducted the so-called
          predisciplinary hearing. Mr. Weisdack was present but asked no questions, nor took any
          notes. Mr. Budzik did all the questioning, and took notes. After the hearing, Mr. Budzik also
          called me to the conference room to talk to me about the potential for “settlement” before
          he presented the disciplinary action to the Board. He suggested that under the terms of an
          agreement, moving forward, all past violations would be considered void (i.e., never placed
          in my file) if I accepted a demotion to a clerical position at $14/hour and gave up all my
          rights to an appeal or other claims. I did not accept the offer, as I was innocent of the
          charges and I believed the proposed action was retaliatory. I asked if I could make a
          statement to the Board and Mr. Budzik said I could only if I accepted the settlement.
          Attached as Ex. B to this affidavit is an email I wrote to Board member Chris Livers about
          this meeting with Mr. Budzik. From the way he seemed to be in charge of the whole process,
          I believed Mr. Budzik had also been involved in creating the allegations in the notice of
          disciplinary action and participating in the findings of guilt.

Ex. 13 (Buddenberg Aff. at 2 ¶ 6), ECF No. 194-13, PageID#4659.

          Budzik, in Weisdack’s presence, gaslit Buddenberg by, among other things, pretending her

supervisor Dan Mix resigned voluntarily when he knew otherwise. Budzik had drafted the charges,

which included multiple references to Buddenberg—including termination threats—and so knew

that Mix had left under threat of termination. Pl. Buddenberg’s Mot. Summ J., ECF No. 221,

PageID#12052 (citations within).

III.      Law and Argument

       A. Buddenberg engaged in constitutionally protected speech that was not a part of her
          ordinary or ad hoc job duties.

          To prevail on a First Amendment–retaliation claim, Buddenberg, as a public employee, must

show her speech was as a private citizen on a matter of public concern. See, e.g., Buddenberg, 939 F.3d

at 739–40. Defendants have not argued, and thus concede, that her speech to the board was on

matters of public concern. So she focuses here only on the private-citizen nature of the speech.

          The First Amendment insulates public employees from retaliation for speaking as private

citizens (that is, not pursuant to their ordinary job duties). Lane v. Franks, 573 U.S. 228, 237 (2014).

Whether speech was made pursuant to an employee’s ordinary job duties is a question of law.




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DeCrane v. Eckart, 12 F.4th 586, 596 (6th Cir. 2021) (legal question “to be decided without reference

to the factfinder.”). Cf. Westmoreland v. Sutherland, 662 F.3d 714, 718 (6th Cir. 2011) (“When there is

no factual dispute regarding what was said, the court treats the question of whether an employee’s

speech is constitutionally protected as a question of law”).

        As discussed below, District Defendants introduce factual disputes about what Buddenberg

said. These disputes must be resolved in the light most favorable to the employee. DeCrane v. Eckart,

12 F.4th 586, 596 (2021) (citing Pucci v. Nineteenth Dist. Ct., 628 F.3d 752, 768 (6th Cir. 2010)). But

once those issues are resolved, it is the Court, and not the parties, that determines the character (i.e.,

private-citizen or public-employee) of Buddenberg’s speech; her subjective beliefs about that

character are irrelevant.

        In making that determination, the Court asks whether Buddenberg’s speech is ordinarily

within the scope of her professional duties, and not (as Defendants wrongly assume) whether it

merely concerns those duties. See Lane, 573 U.S. at 239–40. This requires the Court to consider the

duties Buddenberg actually performed day-to-day. DeCrane, 12 F.4th at 595–96.

        The Sixth Circuit has identified several “factors to consider” when determining whether

speech was within the employee’s duties, including:

        (1) the impetus for the speech;

        (2) the setting of the speech;

        (3) the speech’s audience; and

        (4) the general subject matter.

See, e.g., id. at 596; Aquilina v. Wriggelsworth, 759 F. App’x 340, 344 (6th Cir. 2018) (citing Weisbarth v.

Geauga Park Dist., 499 F.3d 538, 540–41 (6th Cir. 2007)). Applying these factors shows that

Buddenberg spoke as a private citizen.




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        1. The impetus, setting, and audience for the speech: Buddenberg wanted to bring
           to the board’s attention unethical conduct, illegal discrimination, and misconduct
           by Weisdack that she was not required by her fiscal-coordinator role to report.

            a. Reporting to the board wasn’t part of Buddenberg’s ordinary or ad hoc job
               duties.

        District Defendants’ argument disregards and sows confusion about the U.S. Supreme

Court’s most pertinent teaching: “[The question is] whether the speech at issue itself is ordinarily

within the scope of an employee’s duties, not whether it merely concerns those duties… the mere fact

that a citizen’s speech concerns information acquired by virtue of his public employment does not

transform that speech into employee—rather than citizen—speech.” Lane, 573 U.S. at 239–40

(emphasis added). Here, and as Buddenberg’s own summary-judgment motion shows, the

undisputed evidence is that reporting Weisdack’s pay discrimination, unethical contractual self-

dealing, and policy violations to the board wasn’t part of her ordinary (or ad hoc) job duties.

        A public employee’s job description is not conclusive: “Formal job descriptions often bear

little resemblance to the duties an employee actually is expected to perform, and the listing of a

given task in an employee’s written job description is neither necessary nor sufficient to demonstrate

that conducting the task is within the scope of the employee's professional duties for First

Amendment purposes.” Garcetti, 547 U.S. at 424–25. After all, overemphasizing a job description

risks allowing employers to “restrict employees’ rights by creating excessively broad job

descriptions.” Id. at 424.

        In any event, speech of the type in which Buddenberg engaged and made directly to the

board—three levels above her line-employee station—wasn’t in her written job description. See Ex.

27 (fiscal-coordinator job description), ECF No. 194-38, PageID#4830–34; District 30(b)(6) (Litke)

Dep., ECF No. 179-1, 90:17–100:5, PageID#1623–33. District Defendants don’t allege it was. Her

ordinary duties simply didn’t include reporting to the board on ethical and legal violations. See, e.g.,




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Weisdack Dep. Vol. 1, ECF No. 180-1, 31:20–24; 33:23–34:14, 168:6–11, PageID#1985, 1987, 2122;

Whitright Dep., ECF No. 189-1, 42:11–44:3, 45:13–20, PageID#4025–27, 4028. Indeed, before

October 24, 2016, Buddenberg had never spoken directly to the board about these or any other

topics. See Gragg Dep., ECF No. 188-1, 18:20–19:13, PageID#3680–81. And her reports followed

no District policy or process: no employee (other than the commissioner) had ever requested to

speak with the board in this way. Id. at 19:14–20:4, 32:19–23, PageID#3681–82, 3694.

       Nor, contrary to District Defendants’ incantations, had Buddenberg been “directed” to

speak to the board; she asked the board to be heard. See, e.g., Buddenberg Dep. Vol. 1, ECF No. 203-

1, 82:18–25, PageID#8542 (“I sent an email requesting that in October.”); Buddenberg Suppl. Decl.

at ¶ 3, 11, ECF No. 257-1, PageID#14651, 14653. She spoke at a special board meeting convened to

decide whether to extend Weisdack’s employment contract (Buddenberg Dep. Vol. 1, ECF No. 203-

1, 82:18–25, PageID#8542), a topic plainly not in her job wheelhouse.

       The fact that Buddenberg’s misconduct reports to the board went outside the chain of

command reinforces the conclusion that her speech wasn’t part of her job duties. See Buddenberg, 939

F.3d at 740 (reporting to the board as Buddenberg did supports finding of private-citizen speech).

Buddenberg’s reporting chain on October 24, 2016 was Mix, Weisdack, and then the board. District

30(b)(6) (Litke) Dep., ECF No. 179-1, 75:13–18, PageID#1608. Buddenberg went around her

supervisors both by going to the board on October 24, 2016 and in her later retaliation reports. It

was unusual for an employee to come directly to the board the way Buddenberg did. Gragg Dep.

32:19–33:2, ECF No. 188-1, PageID#3694–95.

       On these same facts at the motion-to-dismiss stage, the Sixth Circuit found that Buddenberg

was speaking as a private citizen and not pursuant to her ordinary job duties. See Buddenberg, 939 F.3d

at 739–40 (distinguishing this case from those where a plaintiff’s job duties included overseeing

department operations and reporting situations and accidents immediately to management) (citations



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omitted). Buddenberg oversaw nothing and was responsible for reporting nothing. The Court

should thus hold as a matter of law that Buddenberg spoke as a private citizen.

        In DeCrane v. Eckart, 12 F.4th 586 (6th Cir. 2021), former Cleveland Fire Division Battalion

Chief Sean DeCrane sued Assistant Safety Director Edward Eckart for First Amendment retaliation.

Evidence showed Eckart retaliated against DeCrane after incorrectly perceiving that DeCrane had

blown the whistle to the media about the fire chief’s failure to undergo required training. Eckart

protested that DeCrane had previously given a few media interviews on the city’s behalf, and that his

speech must therefore have been government rather than private-citizen speech.

        The Sixth Circuit made short work of Eckart’s argument, holding that DeCrane’s perceived

speech was that of a private citizen and observing that “leaking information to the media cannot

even be described as one of DeCrane’s ‘ad hoc’ duties.” Id. at 598–99. Buddenberg is in an even

stronger position than DeCrane because she had never previously spoken to the board about anything

she had learned in her job. She was never expected to.

        Similarly, in Romero v. City of Middletown, the Southern District of Ohio held that a water-

treatment lab analyst’s internal reports about workplace safety and water quality weren’t within his

ordinary duties because he wasn’t tasked with investigating either the plant’s conditions or the city’s

regulatory compliance. 479 F. Supp.3d at 679–80 (“The comments on which [plaintiff] relies here

were not prompted by his supervisor’s request to inspect plant operations or give his opinion on

whether [the City] was complying with the required regulations. And he was under no specific

obligation to report anything he saw to his supervisors.”) Even the fact that most of the plaintiff’s

speech was made to supervisors didn’t resolve whether it was within his ordinary duties. That’s

because “he was not making typical employee complaints (i.e., about his job responsibilities) up the

chain of command, but rather claims that he was trying to raise the alarm about water quality with

public officials who he believed were in a position to address those concerns.” Id. at 680.



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        Buddenberg was likewise not tasked with investigating Weisdack’s conduct or the District’s

regulatory compliance with Ohio ethics or discrimination laws. Nor was she making typical

employee complaints (e.g., about her job responsibilities or about working conditions) up the chain

of command; instead she was raising the alarm about legal and ethical violations with public officials

who she believed could address those concerns.

            b. Buddenberg nowhere “admits” that reporting to the board was part of her job
               duties.

        Failing to disclose their own admissions about Buddenberg’s job duties cited above, and

disregarding the rest of the record, District Defendants incorrectly characterize three of

Buddenberg’s statements as dispositive “admissions” on the private-citizen speech issue. They

divorce these statements from their context, contort their meaning, and improperly demand

inferences in their own favor. They also ignore what she said when she was forced to resign, namely

that she spoke to the board “as a responsible citizen.” Ex. 4 (Buddenberg Resignation Letter), ECF

No. 194-4, PageID#4587. Buddenberg will address each of these statements in turn.

        Defendants first inaccurately claim that Buddenberg, referring to her speech to the board,

said, “I was just doing my job” in a text to Darla Andrews. What she in fact said was “not

vindictive… just doing my job,” a reference to her professional demeanor and to the moral

obligation she felt when working as an honest citizen in public service to report misconduct.

Buddenberg Suppl. Decl. at ¶¶ 4–6, ECF No. 257-1, at PageID#14651–52. She was not commenting

on the scope of her ordinary or ad hoc job duties. And she certainly wasn’t confessing that, as a low-

level fiscal coordinator, it was her role to speak to the board on this or any other topic Id.

Defendants take Budddenberg’s casual comment out of context and imbue it with a legal

significance it lacks.




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        Second, District Defendants claim that Buddenberg filed an ethics complaint in which she

remarked that, “[i]n exchange for fulfilling the obligations of my position and reporting wrong

doing, I have been retaliated against and placed in a hostile work environment.”2 In context,

Buddenberg’s reference to “fulfilling the obligations of [her] position” was not an acknowledgement

that “reporting wrong doing” was one of those obligations. She complained that she had been

retaliated against “for fulfilling the obligations of my position and [for] reporting wrong doing.”

(Emphasis added.) She didn’t say that she fulfilled the obligations of her position by reporting

wrongdoing. See Buddenberg Suppl. Decl. at ¶ 8, ECF No. 257-1, PageID#14652–53. There were, in

short, two separate activities for which Defendants retaliated against her—fulfilling the obligations

of her position and reporting wrongdoing. Only by improperly conflating these two—and

misconstruing the syntax of Buddenberg’s statement—can Defendants suggest that Buddenberg has

“admitted” that reporting wrongdoing was among her job duties as a fiscal coordinator. It was not.

(As discussed extensively in the Facts section above and shown in Buddenberg’s own summary-

judgment motion, even District Defendants acknowledge this.)

        For similar reasons, District Defendants’ third example is no more persuasive. Defendants

claim that “Buddenberg said complaining to the Board was ‘performance of my job

responsibilities.’” PageID#11921 (emphasis by Defendants). But as usual, they deny this Court

vital context. The statement was embedded in a December 15, 2016 email to Defendant Budzik’s

firm colleague Jeff Embleton, in which she reported retaliation, which Embleton proceeded to blow

off. Here is the statement in context:

        I clearly stated that my intention of communicating to the board my concerns with the tire
        and the pay discrimination was to; first ensure to my best ability we were legally compliant
        with employment law and the Ohio Code of Ethics. Second, to possibly avoid a legal action
        against the GCHD by the harmed party of the unfair wage discrimination and to correct
2Defendants are wrong in claiming that she didn’t produce the draft in discovery: it was stored in the devices
she handed over as part of her production, under Rule 34, of the fruits of her ESI search. Although she
produced other material related to the Ethics Commission, she just forgot about this document.


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        what many believed was wrong.

        Mr. Weisdack has turned the performance of my job responsibilities into an attack on my
        credibility and character. I have fully complied with the investigation; I have made every
        effort to carry out my job responsibilities in spite of the adverse conditions.

Ex. 83 (December 15, 2016 Buddenberg email to Embleton), ECF No. 195-34, PageID#5274.

        Here again, Buddenberg was not saying that the “performance of [her] job responsibilities”

included or consisted in her communicating with the board. The last quoted sentence makes this

clear. When she stated that she “made every effort to carry out my job responsibilities in spite of the

adverse conditions,” she was not saying that she “made every effort to report to the board in spite of the

adverse conditions.” She was addressing the retaliatory adverse conditions she faced while she was

performing ordinary duties after her board report. These included Weisdack “badmouthing me to

other employees and having them stop communicating with me so that I couldn’t obtain financial

documents I needed to do my job, and him preventing me from accessing and maintaining

personnel files,” etc. See Buddenberg Suppl. Decl. at ¶ 5, ECF No. 257-1, PageID#14651–52. It

didn’t stop there. Weisdack continued to turn the performance of her job responsibilities into

attacks on her credibility and character. Id. (“This included me doing things like overseeing routine

shredding, trying to help with financial reporting, offering to help at a budget meeting with the

auditor’s office, my having tried to help create a nice breakroom for my co-workers, help get payroll

in while I was out sick, etc. Weisdack kept coming up with new opportunities to attack me.”)

        Even if Buddenberg did regard reporting to the board as her “job responsibility,” it was not

one of her formal, assigned, or ad hoc duties. All the evidence belies any suggestion that it was. She

instead saw it as her personal, moral responsibility to call out the discrimination and corruption she

was witnessing. It was not her job to “ensure … we were legally compliant with employment law and

the Ohio Code of Ethics,” to “avoid a legal action against the GCHD” by victims of wage

discrimination, or “to correct what many believed was wrong.” Nowhere was it written or implied,



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and no one ever told her, that her job required her to take these actions. And there is zero contrary

evidence in the record. (Again, she had never done anything like it before.) Yet she nonetheless felt

obligated to do the right thing—for the benefit of the District and its constituents and employees.

        But far and away the biggest problem with Defendants’ argument is its assumption that

Buddenberg’s off-hand characterizations of her own job responsibilities (misinterpreted or not) are

somehow legally significant, i.e., that her “admitting” something makes it so. It does not.

        Again, whether speech was made pursuant to an employee’s ordinary job duties is a question

of law. DeCrane v. Eckart, 12 F.4th 586, 596 (6th Cir. 2021) (legal question “to be decided without

reference to the factfinder.”); see also Westmoreland v. Sutherland, 662 F.3d 714, 718 (6th Cir. 2011)

(“When there is no factual dispute regarding what was said, the court treats the question of whether

an employee’s speech is constitutionally protected as a question of law”). And in deciding the

question, a court should ask not how the employee subjectively viewed her own speech but how a

reasonable person would understand her intention, since such an objective approach “might better

comport with our cases given that they treat Garcetti as raising a legal issue.” DeCrane, 12 F.4th at 597

(citing Mayhew, 856 F.3d at 462–64).

        Here, any factual disputes about what Buddenberg said must be resolved in her favor as the

non-moving party. The Court must thereafter decide as a matter of law whether her statements to

the board were made pursuant to her job duties or, instead, as a private citizen. Buddenberg’s so-

called “admissions” play no role in that legal determination, which should instead be made by

reference to the (objective) evidence bearing on the scope and nature of her job responsibilities. It

would not matter, for that determination, if Buddenberg had stood on the conference-room table,

pounded her fist, and shouted “I’m here as a public employee (not, mind you, as a concerned private

citizen) to report, as it is my duty as a fiscal coordinator to do, and completely within my chain of

command, that Bob Weisdack is violating policy!” Such an “admission,” that is, could not make it



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true that Buddenberg was speaking pursuant to her job duties if it weren’t in fact true that she was.

And on this record it would not be true.

        The “admission” would thus run counter to all the evidence, including Defendants’ own

admissions, showing that it was not part of Buddenberg’s ordinary or ad hoc duties to report to the

board. Such evidence includes the fact that Buddenberg had never before spoken to the board; the

fact that Buddenberg had not been asked to investigate or report on the matters she brought to the

board’s attention; and the fact that Buddenberg’s job description did not include any such “duty.”

These—and not Buddenberg’s so-called “admissions” (which are anything but)—are the (objective)

facts the Court should consider in making its legal determination.

        District Defendants rely on Henderson v. City of Flint, 751 F. App’x 618 (6th Cir. 2018) to try

to deny Buddenberg the right to speak. But they fail to disclose the facts of that case, which are quite

different from those presented here. The Henderson plaintiff was not a line fiscal-coordinator like

Buddenberg but the top city administrator for Flint, Michigan, whose senior-level, municipal-job duties

required that she report the mayor’s suspected lawbreaking to legal counsel. Id. at 623–24.

Buddenberg’s situation was completely different. See Buddenberg, 939 F.3d at 740 (distinguishing

factual allegations here—which are now proved—from those where plaintiff’s job duties included

overseeing department operations and reporting situations and accidents immediately to

management) (citations omitted); Handy-Clay v. City of Memphis, 695 F.3d 531, 542–43 (6th Cir. 2012)

(holding city public-records coordinator’s ordinary duties didn’t include reporting concerns about

city improperly using funds and employees improperly reporting absences; coordinator wasn’t asked

to investigate misconduct or provide her opinion on violations, and she communicated her concerns

to individuals outside of her department rather than just to her supervisor).

        To sum up, nothing in this record suggests that the impetus for Buddenberg’s speech was her

being ordered, or her being required by her job responsibilities, to speak. The setting of her speech,



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moreover, was a formal board meeting with people functioning as a body. Buddenberg Suppl. Decl.

at ¶ 3, ECF No. 257-1, PageID#14651. The speech’s audience, finally, was that board, a collection of

individuals three levels up from her line responsibilities. These factors combine to show that

Buddenberg spoke as a private citizen.

        2. The subject matter of the speech: Commissioner Weisdack’s unethical
           contractual self-dealing and illegal, sexist pay discrimination—and other
           Weisdack policy violations.

        Here, District Defendants cherrypick from their deficient deposition questioning to try and

draw a peculiar distinction between Weisdack’s sexist pay discrimination and his unethical angling to

steer the (non-existent) tire contract to himself. They exaggerate testimonial gaps that they

themselves created by failing to ask the right clarificatory questions. They claim that “[Buddenberg]

initially related one concern to the Board—the perceived issue with the tire contract.” District Defs.’

Mot. Summ. J., ECF No. 217, PageID#11922. They claim that, after she reported her concerns with

the tire contract, the board asked her if there was “anything else” it should be aware of and that it

then “directed that Buddenberg tell them” about other concerns. They claim that Buddenberg, at the

board’s request, then communicated her remaining concerns about Weisdack, including pay

disparities, misuse of public resources, and personnel-policy failures. District Defs.’ Mot. Summ. J.,

ECF No. 217, PageID#11923 (emphasis added).

        But this is all factual conjuring. The fact is that District Defendants took a deficient

deposition and are now filling gaps with their own fabrications. Had defense counsel not interrupted

and sidetracked Buddenberg (see, e.g., Buddenberg Dep. Vol. 1, ECF No. 203-1, at 81:2–82:6,

PageID#8541–42), what she would have explained in completing her answer is that she came to the

board meeting (which was convened at her request) prepared and intending to speak—and that she

did speak in her opening presentation—about both Weisdack’s unethical tire-contract self-dealing and

the gender-pay-discrimination issues. “The two items together combined made me concerned that



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ethical practices were not being followed…” Id. at 81:25–82:3, PageID#8541, 8542; Ex. 4

(Buddenberg Resignation Letter), ECF No. 194-4, PageID#4587 (“On October 24, 2016, I chose,

as a responsible citizen, to bring serious concerns about Mr. Weisdack’s ethical violations relating to

a tire contract and his unequal-pay practices to the Health District Board’s attention…”). Then, when

the board asked her (did not “direct” her) whether there was “anything else,” she raised Weisdack’s

other policy infractions. Buddenberg Suppl. Decl. at ¶ 9, ECF No. 257-1, PageID#14653.

        In any event, the Court need not analyze every item on which Buddenberg reported, because

“attending [a] meeting as an employee or in one’s official capacity does not necessarily, as a matter

of fact or law, bring every statement made at the meeting within the scope of one’s official duties.”

Brack v. Budish, No. 1:19-CV-01436, 2022 WL 1192784, at *12 (N.D. Ohio Apr. 21, 2022)

(Calabrese, J.) (finding good-faith basis for First Amendment–retaliation claims where nurse first

went to a county-council meeting as part of his duties but then shifted course, in response to lies by

an official and questioning by council members, and proceeded to blow the whistle as a private

citizen on a matter of public concern, namely jail conditions).

        Nor does the board’s question whether Buddenberg wanted to report “anything else”

transform Buddenberg’s (previous or subsequent) speech into government speech. If it did, then any

public employee who, outside her job duties, blows the whistle to high-level government officials

about misconduct would lose all First Amendment protection as soon as the query is posed. And if

that were so, any government entity or official could defeat an employee’s otherwise meritorious

First Amendment–retaliation claim in advance by employing a simple expedient: ask her if there’s

“anything else” and, as if by magic, all her subsequent speech loses its protected, private-citizen

character. That simply isn’t the law.

        And by perseverating on the tire-contract segment of Buddenberg’s report and its relation to

her job, District Defendants flout the Supreme Court’s Lane v. Franks teaching that public employees



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may base First Amendment retaliation claims on information they learn from performing their job

duties—provided only that the speech is not made pursuant to or as part of those duties. And flout

they do. As the Sixth Circuit said of a contention just like Defendants’: “This argument flouts

precedent…. The Supreme Court has made clear that employees do not speak “on the job” simply

because they speak about the job.” DeCrane v. Eckart, 12 F.4th at 598 (citing Lane, 573 U.S. at 239–

40). “Indeed, ‘speech by public employees on subject matter related to their employment holds

special value precisely because those employees gain knowledge of matters of public concern

through their employment.’” Id. (quoting Lane, 573 U.S. at 240).

        As mentioned, Buddenberg had never before spoken to the board about anything. And

everything she knew about Weisdack’s corrupt and illegal behavior she learned on the job (even

though it was not her job to find out). Some of the things she learned may even have been

somewhat relevant to her job. But that doesn’t mean that she was required or expected to talk to

anyone about the misconduct or that it was part of her job to do so.

        This Court should thus find that Buddenberg spoke as a private citizen.

    B. Buddenberg has shown that she was constructively discharged because she has
       shown that the District, intending to force her to quit, deliberately created intolerable
       working conditions, and that she in fact quit.

        To prove constructive discharge, an employee must show that: (1) the employer deliberately

created intolerable working conditions “as perceived by a reasonable person,” which means that “a

reasonable person would have [felt] compelled to resign”; (2) the employer intended to force the

employee to quit; and (3) the employee actually quit. Buddenberg, 939 F.3d at 739 (citing Regan v.

Faurecia Auto. Seating, Inc., 679 F.3d 475, 481–82 (6th Cir. 2012)) (quoting Savage v. Gee, 665 F.3d 732,

739 (6th Cir. 2012); see also Laster v. City of Kalamazoo, 746 F.3d 714, 727–28 (6th Cir. 2014).




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        Although whether a reasonable person would have felt compelled to resign (the first prong)

depends on the facts of each case, a court will consider whether the employee experienced some of

the following employment actions:

        (1) demotion;

        (2) reduction in salary;

        (3) reduction in job responsibilities;

        (4) reassignment to menial or degrading work;

        (5) reassignment to work under a younger supervisor;

        (6) badgering, harassment, or humiliation by the employer calculated to encourage the

              employee’s resignation; or

        (7) offers of early retirement or continued employment on terms less favorable than the

              employee’s former status.

Id. at 728.

        Here, the District and Weisdack deliberately created intolerable working conditions for

Buddenberg. Her working hours were first changed to something that made it harder for her to

attend college or help care for her cancer-stricken grandchild. The boss who was trying to protect

her from retaliation was forced out for doing so. She was placed on an unpaid suspensions, her job

responsibilities were taken away, she was demoted to a menial, clerical position, and her salary was

hacked nearly in half. She was assigned to work for and with people who didn’t like her—and who

wouldn’t even talk to her anymore. Over time, she faced badgering, harassment, and humiliation by

the employer, all calculated to encourage her resignation. This included Budzik’s aggressive

interrogation as Weisdack’s designee, where Budzik gaslit her by pretending Dan Mix resigned

voluntarily even though Budzik knew—from having written the charges himself—that it was under

threat of termination. And in a backroom following her disciplinary “hearing,” Budzik, for the



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District Defendants, sought to intimidate Buddenberg into dismissing her EEOC retaliation charge

by “offering” her continued employment on terms far less favorable than her former status.

        There is little question, moreover, that in taking these actions Defendants intended to force

or at least encourage Buddenberg to quit. Weisdack indeed made no secret of his own wishes. In the

disciplinary-action notice he signed and gave to Buddenberg, he suggested just this solution:

“Finally, you have the right to resign your employment prior to the pre-deprivation hearing as part

of the administrative process.” Ex. 68 (Notice of Proposed Disciplinary Action), ECF No. 195-19,

PageID#5166. There would have been no reason to mention that unless he wanted her to quit.

        The evidence also shows that Weisdack was enraged about Buddenberg’s board report,

thought she was “stirring up B.S.,” and let everyone know just how angry he was with her. See, e.g.,

Andrews Decl. at ¶15, ECF No. 194-6, PageID#4608; Id. at PageID#4611; Wendell Dep. Vol. 1,

ECF No. 190-1, 42:9-25, PageID#4294. So he had a motive to get rid of her. Demoting an

employee and cutting her pay nearly in half—especially someone who had had good performance

evaluations, moreover, is rather extreme. So is reassigning the employee to a group of people you

know dislike and will mistreat the employee. These are not actions an employer takes who would

like to see an employee stick around. Board-member Gragg didn’t even care about Buddenberg’s

retaliation complaints—and wouldn’t have cared if he’d learned more about them. Gragg Dep., ECF

No. 188-1, at 218:23–219:11 and 230:18–25, PageID#3880–81, 3892. Defendants have not

produced a single document (or piece of testimony) to show that any Defendant was surprised or

disappointed to see the back of Buddenberg when she quit. A reasonable jury has more than enough

information to conclude that the employer—Weisdack, the District, and its board members—

intended for her to quit.




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        And thanks to the cumulative effect of District Defendants’ relentless, inhumane barrage,

Buddenberg did just that. Buddenberg Suppl. Decl. at ¶¶ 11–12, ECF No. 257-1, PageID#14653–

54. Just as Defendants intended.

        But Defendants insist that “[t]here was no talk of resigning until she was demoted” and that

Buddenberg wouldn’t have resigned but for having her position changed to EH after the demotion.

See ECF No. 204-17, PageID#9002; ECF No. 204-23, PageID#9009. Here, Defendants just happen

to pick the final act in a series of intolerable employment actions whose cumulative effect was to force

Buddenberg’s resignation. In any wrongful-discharge action, a defendant will be able to point to

some penultimate act or event, i.e., one that immediately preceded the termination, and claim that

that was the act or event without which the employee would not have resigned. But that’s not always

fair. Here, the fact that Buddenberg resigned shortly after being demoted does not mean that the

demotion was the but-for cause of her resignation. The above-listed actions all played a role in

causing Buddenberg to believe she couldn’t remain employed at the District. A reasonable jury could

conclude that that’s the case.

        By any reasonable measure, Buddenberg suffered a constructive discharge. On this record,

Defendants’ denials ring hollow. At a minimum, issues of material fact preclude summary judgment

for Defendants on the issue.

    C. District Defendants’ actions caused tangible harm to Buddenberg and qualify as
       “adverse” under applicable legal standards; Defendants defy U.S. Supreme Court
       authority and argue the wrong legal standards for adverse actions in retaliation cases
       under Title VII/Ohio Rev. Code § 4112, the Equal Pay Act/Fair Labor Standards
       Act, and for First Amendment retaliation.

        1. Under any standard, Buddenberg faced a series of adverse actions.

        Under Title VII, Ohio Rev. Code § 4112, and the Equal Pay Act, “materially adverse

actions” are those that would dissuade a reasonable worker from making or supporting a

discrimination charge. Laster v. City of Kalamazoo, 746 F.3d 714, 731 (6th Cir. 2014); Briggs v. Univ. of


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Cincinnati, 11 F.4th 498, 514 (6th Cir. 2021) (Equal Pay Act); Plumbers & Steamfitters Joint Apprenticeship

Comm. v. Ohio C. R. Comm’n, 66 Ohio St. 2d 192, 421 N.E.2d, 131 (Ohio 1981) (Ohio Rev. Code

§ 4112). What constitutes a materially adverse action is “not reducible to a comprehensive set of

clear rules” but is based an objective view of its harm. Thompson v. N. Am. Stainless, LP, 562 U.S. 170,

175 (2011).

        Defendants argue that what they call Buddenberg’s “planned demotion” is not an adverse

employment action. ECF No. 217, PageID#11931. “Buddenberg never spent a single day in the

demoted position,” Defendants observe, and so “the harm never manifested itself.” Id. What

Defendants fail to appreciate is that the “planned demotion” was the culmination of a series of

employment actions that, both individually and together, qualify as “adverse” under even the

“manifest harm” standard Defendants articulate.

        Forget about any “planned” demotion; an effective demotion had occurred before the District

took any “formal” disciplinary action against Buddenberg. As shown in the Facts section above,

District Defendants had stripped Buddenberg of her accounts and taken away her job

responsibilities before Defendants conveyed the formal disciplinary decision. Their refusals to

communicate with her in the leadup to the formal demotion, moreover, impaired her ability to

discharge her regular duties. See Buddenberg Dep. Vol. 1, ECF No. 203-1, 174:25–176:8,

PageID#8634–36; Buddenberg Decl. at ¶ 6, 12, ECF No. 214-1, PageID#11746, 11748. Most

significantly, the telltale sign of any demotion—a substantial pay cut—had been formally imposed

before she stepped into the “planned” demotion “position”: just after the hearing, Buddenberg’s pay

was slashed nearly in half. See, e.g., Ex. 72, ECF No. 195-23, PageID#5235–37 (payroll records

showing that as of June 20, 2016, she had been earning $19.75/hour, but that as of March 24, 2017

her pay had been slashed to $10.25/hour; disciplinary order discussed in Facts section above reflect

a March 21 date). And when the District reimbursed Buddenberg’s vacation pay (again before she



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returned from leave into the formal demotion position), it did so at the reduced rate. See

Buddenberg Dep. Vol. 2, ECF No. 204-1, at 351:17–352:8, PageID#8905–06.

        If it walks like a demotion and quacks like a demotion, it is a demotion. Buddenberg thus did

serve in a demoted capacity—and suffered “manifest” harm—in the most relevant sense. (If it’s the

word “demotion” that puts Defendants off, the Court can consider the District’s actions an

“elimination of job responsibilities and a corresponding gutting of pay.” That would drive home that

Buddenberg indeed suffered multiple adverse actions even before her formal demotion.) That she

didn’t obligingly accept and perform her new, demeaning work assignment is beside the point; the

severe adverse actions had already been taken.

        This is why Defendants’ cases—dealing with unserved suspensions and other inchoate,

unrealized harms—are inapt. See Lee v. Cleveland Clinic Fdn., 676 F. App’x 488, 497 (6th Cir. 2017)

(“Plaintiff's suspension without pay was not an adverse employment action because she resigned

before she could serve the suspension”); Whittaker v. N. Ill. Univ., 424 F.3d 640, 648 (7th Cir. 2005)

(because [plaintiff] never served the suspension, she never realized any economic effect from the

slated employment action”); Nagle v. Village of Claumet Park, 554 F.3d 1106, 1121 (7th Cir. 2009)

(“the April 2005 suspension which Nagle never served does not constitute an adverse action”)

(emphasis added).

        When the District, board members, and Weisdack—with Budzik’s help—slashed her wages

by nearly half, Buddenberg experienced tangible economic harm—leading to her constructive

discharge. She didn’t have to serve (i.e., perform work) in a demoted capacity to suffer this loss;

District Defendants made sure of that.

        Defendants’ other cases are likewise distinguishable. The court in Laster v. City of Kalamazoo,

746 F.3d 714, 727 (6th Cir. 2014), held that the “Plaintiff's two-day suspension does not meet the

standard of an ‘adverse employment action’ since it was ultimately revoked.” Id. at 727 (emphasis added).



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But unlike Buddenberg, the Laster plaintiff did not claim to have suffered a series of antecedent

harms—all building toward a main harmful action. And unlike Laster’s employer, the District never

revoked the discipline it imposed. It may well be that no adverse action occurs when an employer

itself revokes a previously imposed sanction, assuming the employee hasn’t suffered in the interim.

But here, far from revoking a prior disciplinary action, the District piled on.

        Nor does Ehrlich v. Kovack, 710 F. App’x 646, 650 (6th Cir. 2017), excuse the District’s

treatment of Buddenberg. The Ehrlich court, true enough, held that “being placed on paid

administrative leave while an investigation is conducted into suspected wrongdoing is not an adverse

action.” Id. at 650 (citing Harris v. Detroit Pub. Sch., 245 F. App’x. 437, 443 (6th Cir. 2007); Peltier v.

United States, 388 F.3d 984, 988 (6th Cir. 2004)).3 But here there was no “waiting for the results of an

investigation” to see if discipline was warranted; the District took multiple adverse actions

immediately after the hearing. And one of those actions, which the Ehrlich plaintiff did not suffer,

was an almost 50% reduction in pay. Harm to Buddenberg was “manifest” and “realized” in a way

that the harm in Ehrlich was not.

        2. Less-stringent standards for adverse actions apply in retaliation cases than in
           discrimination cases, particularly in the First Amendment context.

        Two additional distinctions diminish the persuasiveness of Defendants’ adverse-action

arguments. Defendants’ cases arise for the most part under Title VII and deal with discrimination, not

retaliation. But in addition to Title VII, the Equal Pay Act, and Ohio Rev. Code 4112, Buddenberg’s




3 But cf. Burlington Northern & Santa Fe Ry. v. White, 548 U.S. 53, 67 (2006), another of the District’s cases, in
which the Supreme Court held in the Title VII context and contrary to the District’s “manifest harm” thesis,
that a suspension without pay could constitute an adverse action “even if the suspended employee eventually
receives backpay.”


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claims arise under the First Amendment. Her claims, moreover, are for retaliation, not discrimination.

When it comes to the standards for adverse action, these distinctions make a big difference.

        Contrary to what District Defendants claim or imply, the U.S. Supreme Court has held that

the antiretaliation provisions of Title VII and the Equal Pay Act are not limited to adverse actions

affecting employment terms and conditions:

        Title VII’s substantive provision and its antiretaliation provision are not coterminous. The
        scope of the antiretaliation provision extends beyond workplace-related or employment-related
        retaliatory acts and harm. We therefore reject the standards applied in the Courts of Appeals
        that have treated the antiretaliation provision as forbidding the same conduct prohibited by
        the antidiscrimination provision and that have limited actionable retaliation to so called
        ‘ultimate employment decisions.’

Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 64–69 (2006) (emphasis added). District

Defendants failed to disclose this controlling U.S. Supreme Court authority.

        As Defendants’ own cases recognize, “[t]he ‘adverse employment action’ concept is broader

in the context of retaliation than it is in the context of discrimination.” Ware v. L-3 Vertex Aero.,

LLC, No. 16 Civ. 8067, 2020 WL 783764, at *8 (S.D.N.Y. Feb. 18, 2020). The court in Whittaker v.

N. Ill. Univ., 424 F.3d 640, 648 (7th Cir. 2005), noted that “[s]ection 2000e–3(a) [of Title VII] is

‘broader’ than § 2000e–2(a) in the sense that retaliation may take so many forms, while § 2000e–

2(a) is limited to discrimination ‘with respect to [the worker's] compensation, terms, conditions, or

privileges of employment.’” Id. (quoting Washington v. Ill. Dep't of Revenue, 420 F.3d 658 (7th Cir.

August 22, 2005); and citing Herrnreiter v. Chicago Hous. Auth., 315 F.3d 742, 745–46 (7th Cir. 2002)

(recognizing that, to be actionable under Title VII, retaliation need not even involve “an

actual employment action”) (emphasis in original)).

         In Laster v. City of Kalamazoo, 746 F.3d 714, 719 (6th Cir. 2014), another of Defendants’

cases, the court recognized that “[t]he ‘materially adverse action’ element of a Title VII retaliation

claim is substantially different from the ‘adverse employment action’ element of a Title VII race

discrimination claim.” Id. (citing Burlington N., 548 U.S. at 59 (2006); Michael v. Caterpillar Fin. Servs.

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Corp., 496 F.3d 584, 595 (6th Cir. 2007)). “Under the former,” the Laster court continued, “Plaintiff

need only show ‘that a reasonable employee would have found the challenged action materially

adverse, which in this context means it well might have dissuaded a reasonable worker from making

or supporting a charge of discrimination.’” Id. (quoting Burlington N., 548 U.S. at 57). That the Laster

plaintiff couldn’t show that he was constructively discharged, moreover, was “not dispositive of

Plaintiff's Title VII retaliation claim where Plaintiff has provided evidence of other adverse actions

which raise a genuine issue of fact as to whether or not they satisfy this standard.” Id.

        Materially adverse actions thus are not limited to demotions. See, e.g., Michael v. Caterpillar Fin.

Servs. Corp., 496 F.3d 584, 596 (placing employee on brief paid administrative leave and 90-day

performance plan meet “relatively low bar” of materially adverse action for retaliation-claim

purposes); Laster, 746 F.3d at 732 (“Facing heightened scrutiny, receiving frequent reprimands for

breaking selectively enforced policies, being disciplined more harshly than similarly situated peers,

and being forced to attend a pre-determination hearing based on unfounded allegations of

wrongdoing might well have dissuaded a reasonable worker from making or supporting a charge of

discrimination”).

        Whether required to show economic harm or only some other “materially adverse” action,

Buddenberg easily meets the standard. A nearly 50% reduction in pay, particularly when coupled

with the removal of job responsibilities, account access, and near-total ostracism, is “materially

adverse,” as it “it well might have dissuaded a reasonable worker from” engaging in the protected

conduct.

        Defendants’ reliance on Title VII cases is unpersuasive for another reason: the activity in

which Buddenberg engaged—i.e., reporting the self-dealing and misuse of public funds in which

Weisdack was engaged—warrants the even greater degree of protection that the First Amendment




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affords. As the Laster court observed, “the type of activity protected by the First Amendment is

different than the type of activity protected by Title VII.” 746 F.3d at 727.

        What constitutes Title VII adverse action is different from what constitutes an First

Amendment–retaliation adverse action. In the latter case, any act qualifies that would deter a “a

person of ordinary firmness” from exercising or continuing to engage in protected speech.

Buddenberg, 939 F.3d 732, 739 (6th Cir. 2019). “This standard is ‘distinct’ from the adverse-action

standard used in traditional employment discrimination claims, and thus we must ‘tailor our analysis

under the adverse action prong to the circumstances of this specific retaliation claim.’” Benison v.

Ross, 765 F.3d 649, 659 (6th Cir. 2014).

        The threshold for adverse action in the First Amendment context is quite low and need not

even involve pecuniary loss. See, e.g., Bloch v. Ribar, 156 F.3d 673, 679 (6th Cir. 1998) (adverse action

may include conduct that causes embarrassment or “intimidation, marital problems, weight loss, loss

of sleep, shock, or humiliation”). Even an act “as trivial as failing to hold a birthday party for a

public employee” is an adverse action “when intended to punish her for exercising her free speech

rights.” Wood v. Eubanks, 25 F.4th 414, 429 (6th Cir. 2022) (quoting Rutan v. Republican Party of Ill.,

497 U.S. 62, 75, n. 8 (1990)). The court in Bart v. Telford, 677 F.2d 622 (7th Cir. 1982), explained that,

while an employee’s complaints may seem trivial, “[t]he effect on freedom of speech may be small,

but since there is no justification for harassing people for exercising their constitutional rights it

need not be great in order to be actionable.” Id. at 625.

        What Defendants try to diminish as non-actionable “rude behavior” and “petty slights,”

(ECF No. 217, PageID#11933–34), moreover, can be exactly the sort of adverse action of which

the First Amendment takes notice. Particularly when coupled with the (unquestionably materially

adverse) salary cut the District imposed, and seen as a small piece in an ongoing campaign of

retaliation, Defendants’ behavior triggers First Amendment protection.



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        Even if District Defendants were right about the quantum of harm required for adverse

actions in retaliation cases—which they are not—their specific points lack logic. They observe that

Buddenberg didn’t actually work the clerical position (to which she was relegated in humiliating

fashion) and infer that she therefore didn’t suffer an adverse action. But all the cases they cite for

this conclusion were decided in the context of Title VII, the ADA, or some other statute outlawing

discrimination or retaliation. ECF No. 217, PageID#11931–34. None examined the substantially

diminished burden faced by litigants claiming First Amendment retaliation. Defendants thus fail to

support their defense that a litigant must actually serve in a demoted capacity to experience actionable

harm. And again, they fail to acknowledge or appreciate that Buddenberg experienced a variety of

undeniably adverse actions, including being stripped of her duties and a near 50% pay cut, and that

she was therefore effectively demoted, in the lead-up to her formal demotion.

        District Defendants also argue that the Court should deny Buddenberg any relief because

she didn’t “exhaust” her “appeal” rights. ECF No. 217, PageID#11932. But in suggesting that

Buddenberg ought to have taken advantage of “available” “internal procedures,” they fail to

mention that the board members themselves had embraced her demotion, suspension, and pay cut.

Ex. 72, ECF No. 195-23, PageID#5235–37. They also neglect to mention that Defendant Budzik

denied her access to the board. See, e.g., Ex. 13, Buddenberg Aff. at 2 ¶ 6, ECF No. 194-13,

PageID#4659; Buddenberg Suppl. Decl. at ¶ 13, ECF No. 257-1, PageID#14654, and that the

board chair himself said any appeal would be pointless, see Goergen Dep. Vol. 2, ECF No. 187-1,

230:10–231:19, PageID#3527–28.

        Even the single case District Defendants cite for their “exhaustion of administrative

remedies” requirement—Benison v. Ross, 765 F.3d 649, 659 (6th Cir. 2014)—actually requires no such

thing. Instead, the case is limited to the unique circumstances of “decisions in an academic setting[,

which] involve a combination of factors which tend to set them apart from employment decisions



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generally.” Id. (internal quotations omitted). Because the Benison faculty member didn’t wait for a

final university decision in an elaborate process, certain actions in the case were found not to be

adverse. But here, the District stands by its decision. District 30(b)(6) (Litke) Dep., ECF No. 179-1,

206:16-18, PageID#1739. And again, even the board chair said it would make no sense to appeal, to

the board, a decision that the board itself had made. Goergen Dep. Vol. 2, ECF No. 187-1, 230:10–

231:19, PageID#3527–28.

        District Defendants cite no case that would have required Buddenberg to bring or maintain

an action before the State Personnel Board of Review. And any such attempt would likely have been

futile once Defendants had abolished her fiscal-coordinator position from the organization chart.4

        Defendants also hope to trap Buddenberg in a classic “Catch 22.” They reason that, because

an adverse action is one that would deter a reasonable employee from filing a discrimination charge

(note that this is the standard for a Title VII case, not a First Amendment case), and because

Buddenberg “had no problem filing charges of discrimination” (ECF No. 217, PageID#11933), she

must not have suffered an adverse action. But if that were the applicable test, then no retaliation

cases could ever be proven, because anyone who seeks redress for retaliation has by definition not

been deterred from seeking redress for retaliation.

        In any event, District Defendants are barking up the wrong tree. The question is not

whether Buddenberg herself was deterred from engaging in protected conduct but whether a person of

ordinary firmness, facing the kind of retaliation to which Budddenberg was subjected, would be so

deterred. “[T]he focus, of course, is upon whether a person of ordinary firmness would be chilled,

rather than whether the particular plaintiff is chilled.” Schroeder ex rel. Schroeder v. Maumee Bd. of Educ.,


4 The Court should disregard District Defendants’ invocation of a Buddenberg remark that “They dropped
the SPBR case because it would limit the federal case” as misguided hearsay, irrelevant, and a statement
whose probative value is substantially outweighed by its prejudicial effect. It’s also an inscrutable legal
proposition. Buddenberg does not waive attorney-client privilege and her attorneys do not waive work-
product protection.


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296 F. Supp.2d 869, 878 (N.D. Ohio 2003) (citing Smith v. Plati, 258 F.3d 1167, 1177 (10th

Cir.2001)). And “‘[o]rdinary firmness’ is an objective standard that will not ‘allow a defendant to

escape liability for First Amendment violation merely because an unusually determined plaintiff

persists in his protected activity.’” Alsaada v. City of Columbus, 536 F. Supp.3d 216, 269 (S.D. Ohio

2021) (quoting Mendocino Envtl. Ctr. v. Mendocino Cnty., 192 F.3d 1283, 1300 (9th Cir. 1999)).

Regardless of how Buddenberg responded to Defendants’ retaliation, the harmful actions she alleges

would certainly deter a person of ordinary firmness from engaging in future protected activity.

    D. Material fact issues—regarding whether Buddenberg’s protected activity was the
       “but-for” cause of the retaliation she suffered—preclude summary judgment for
       District Defendants on her Title VII and Equal Pay Act claims.

        As District Defendants point out, a plaintiff asserting a Title VII or Equal Pay Act retaliation

claim must prove a causal connection between her protected activity and the adverse action(s) she

suffered. Such a causal connection exists when the protected activity was the “but-for” cause of the

employer’s alleged adverse action. Davis v. Metro Parks and Recreation Dep’t, 854 F. App’x 707, 713 (6th

Cir. 2021) (citing Univ. of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 360 (2013)).

        Defendants say that Buddenberg cannot meet this “but-for” causation requirement due to

“the sheer number of retaliatory actions” she alleges. “The problem is that Buddenberg also claims

to have engaged in a boatload of protected activity such that it is impossible for her to prove the

but-for causal connection for each of these claimed retaliatory acts.” ECF 217, PageID#11935.

        Defendants’ concerns are overblown. They forget that, as the case is postured (i.e., on

summary judgment), it is they, not Buddenberg, who must eliminate issues of material fact, e.g., about

which protected acts stand in what causal relation(s) to which retaliatory acts. The question at this

juncture is not whether Buddenberg can prove a causal connection between any particular set of acts

but whether Defendants can rule it out.




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         In Yasdian v. ConMed Endoscopic Technologies, Inc., 793 F.3d 634 (6th Cir. 2015), the court

acknowledged that the causation element of a Title VII claim “requires proof that the unlawful

retaliation would not have occurred in the absence of the alleged wrongful action or actions of the

employer.” Id. at 649; EEOC v. Ford Motor Co., 782 F.3d 753, 767 (6th Cir. 2015) (en banc)).

“Nevertheless,” it continued, “at the summary-judgment stage, the ‘burden to establish a prima facie

case of retaliation ... is a burden easily met.’” Id. (quoting EEOC v. Avery Dennison Corp., 104 F.3d

858, 861 (6th Cir. 1997)).

        Indeed, a plaintiff may bypass the entire McDonnell Douglas burden-shifting framework where,

as here, she presents direct evidence of discrimination or retaliation. See, e.g., Davis v. Metro Parks and

Recreation Dep’t, 854 F. App’x 707, 713 (6th Cir. 2021); Christopher v. Stouder Mem’l Hosp., 936 F.2d 870,

879 (6th Cir. 1991) (“It is well settled that if a plaintiff presents direct evidence of discrimination, she

need not proceed under the McDonnell Douglas [burden-shifting framework.]”); Reeser v. Henry Ford

Health System, 119 F. Supp.3d 710, 718 (FLSA). Direct evidence “if believed, requires the conclusion

that unlawful retaliation was a motivating factor in the employer’s action.” Abbott v. Crown Motor Co.,

348 F.3d 537, 542 (6th Cir. 2003) (emphasis in original). Buddenberg has produced ample evidence

of a causal connection between her protected activities and several of Defendants’ retaliatory acts.

Meanwhile, Defendants have fallen woefully short of meeting their burden of demonstrating that no

such connections could reasonably be found to exist.

        In fact, Buddenberg shows in her own summary-judgment motion, ECF No. 221,

PageID#12077, 12081–82, 12091, that Defendants have admitted the existence of just such causal

connections, and that (because she plainly satisfies all other elements) it is she who is therefore

entitled to summary judgment on her Title VII and Equal Pay Act claims. Buddenberg commends a

full read (or re-read) of her motion (whose arguments and evidence, again, she incorporates by

reference) in this regard. There the Court will read how, e.g., “Defendants’ own words show that the



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causal connection between Buddenberg’s February 1, 2017 email opposing Mix’s forced resignation

as a proxy for retaliation against her and the adverse action of her suspension and demotion are

effectively undisputed and thus established as a matter of law. See above at Part III(C)(3).” (ECF No.

221, PageID#12077.) And it will learn, among many other things, that,

        [f]or one particular set of adverse actions—being charged, enduring a hearing, being
        interrogated and gaslit, being demoted and suspended, and having her pay slashed for having
        reported retaliation against her former supervisor Dan Mix—Buddenberg is entitled to
        summary judgment on causation because the District, Weisdack, Goergen, Gragg, and
        Livers—with Budzik’s help—have effectively admitted causation. (Ex. 68, ECF No. 195-19,
        PageID#5163; id. at PageID#5169; Ex. 85, District’s EEOC Position Statement
        (Buddenberg), ECF No. 195-36, PageID#5282.) No reasonable jury could find otherwise
        based on Defendants’ own plain wording.

Id. at PageID#12092.

        By enlisting Defendant’s own admissions, then, Buddenberg’s motion traces the “but-for”

causal connections that, in their own motion, Defendants claim cannot be shown. In any case,

Defendants cannot rule out these connections as a matter of law or demonstrate the unreasonableness

of any jury that finds them to have been established. Because that is the only argument they deploy

against Buddenberg’s Title VII or Equal Pay Act claims,5 Defendants are not entitled to summary

judgment on these claims.

    E. District Defendants deserve no qualified immunity because, as the Sixth Circuit’s
       Buddenberg decision demonstrates, the First Amendment law protecting public
       employees that they violated was clearly established—and had they been reasonable
       they would have known that.

        District Defendants repeatedly urge upon this Court a heightened, indeed impossible (and

thus non-existent) legal standard. The individual Defendants are entitled to qualified immunity, they

say, because “[s]imply, there is no case on ‘all fours….’” See, e.g., PageID#11938. But defeating




5 For unknown reasons, District Defendants also argue that Title VII doesn’t provide for individual liability
(see PageID#11934), even though Buddenberg’s Second Amended Complaint nowhere asserts any such
claim. (See ECF No. 31, Page ID#398–402.) Defendants’ argument can be safely ignored or denied as moot.


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qualified immunity doesn’t require a case “on all fours.” See Kisela v. Hughes, 138 S. Ct. 1148, 1153

(2018) (“qualified immunity does not require a case directly on point”); Ashcroft v. al-Kidd, 563 U.S.

731, 741 (2011) (“officials can still be on notice that their conduct violates established law even in

novel factual circumstances”; “qualified immunity… does not require a case directly on point…”).

Defendants not only fail to disclose these controlling cases but they cite no case for their baseless,

“all-fours” standard because there isn’t one. They simply make it up. And if this were in fact the

standard, no constitutional claim could ever overcome qualified immunity because some factual

distinctions, however minor or irrelevant, could always be identified.

        All that is needed to overcome qualified immunity is for it to be “sufficiently clear that every

reasonable official would understand that what [the government official] is doing is unlawful.”

Mullenix v. Luna, 577 U.S. 7, 12 (2015). One need look no further than the Sixth Circuit’s qualified-

immunity decision in Buddenberg, 939 F.3d 732 (6th Cir. 2019)—and the rich citations within it—to

understand that this case meets that standard. The federal constitutional law the District violated was

clearly established—and a reasonable public official would have grasped that. Id. at 739–42.

        Even though, as noted above, District Defendants don’t argue and therefore waive the

matter-of-public-concern element of free speech, in their qualified-immunity section they suddenly

characterize Buddenberg’s speech as conveying a “quintessential employee beef.” District Defs.’

Mot. Summ. J., ECF No. 217, PageID#11937. This is what the Buddenberg court said about how her

speech, as then alleged and now proved, addressed matters of public concern:

            We have found that speech addresses a matter of public concern when it alleges the
            misuse of public funds, Chappel v. Montgomery Cty. Fire Protection Dist. No. 1, 131 F.3d 564,
            576–77 (6th Cir. 1997), or discrimination, Hughes v. Region VII Area Agency on Aging, 542
            F.3d 169, 182 (6th Cir. 2008). Allegations of public corruption ‘are exactly the type of
            statements that demand strong First Amendment protections.” Mayhew, 856 F.3d at 468
            (quoting Handy-Clay v. City of Memphis, 695 F.3d 531, 543 (6th Cir. 2012) (collecting
            cases)). Accordingly, accepting Buddenberg’s allegations as true, her speech is
            constitutionally protected.




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Buddenberg, 939 F.3d at 739. See also Trujillo v. Henniges Auto. Sealing Sys. N. Am., Inc. 495, F. App’x

651, 655 (6th Cir. 2012) (“We have repeatedly held that complaints to human resources personnel

regarding potential violations of Title VII constitute protected activity for purposes of establishing a

prima facie case of retaliation”); Hill v. Air Tran Airways, 416 F. App’x 494, 498 (6th Cir. 2011);

Sheppard v. Uniboring, 72 F. App’x 333, 336 (6th Cir. 2003). Despite their efforts to recast the topics

as “employee beefs,” Buddenberg has proven, and Defendants don’t dispute, that she spoke on

these topics of public concern.

        District Defendants’ argument rests on three hotly disputed contentions. First, they claim

Buddenberg was motivated by hate. But they fail to show either that that is true or that it has any legal

relevance to the issue of speaking as a private citizen on a matter of public concern. (This is the only

feint they make at the public-concern prong of First Amendment–protected activity.) And they fail

to disclose abundant controlling Sixth Circuit authority on this point: Myers v. City of Centerville, Ohio

41 F.4th 746, 760–61 (6th Cir. 2022) (“‘While motive for the speech is a relevant factor, ... “the

pertinent question is not why the employee spoke, but what he said.’”); Westmoreland v. Sutherland,

662 F.3d 714, 719 (6th Cir. 2011) (quoting Farhat v. Jopke, 370 F.3d 580, 591 (6th Cir. 2004)). … We

first determine the “point” of the letter—based mainly on its content, not Myers’s motives for

writing it. Rodgers v. Banks, 344 F.3d 587, 600 (6th Cir. 2003). We then ask whether that point

addressed a matter of public concern. Id.” “Although Plaintiff's underlying motive in writing the

memo might have been to complain about incompetent management, our duty is not to discern her

underlying motive, but rather to evaluate her point as it is presented in the speech. Chappel v.

Montgomery County Fire Prot. Dist. No. 1, 131 F.3d 564, 575–76 (6th Cir. 1997).” Rodgers v. Banks, 344

F.3d 587, 600 (6th Cir. 2003).

        District Defendants insist that “a jury could believe Buddenberg was simply trying to get rid

of a boss she hated.” (PageID#11937.) “But,” Defendants continue, “by believing her – that she



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was innocently trying to correct a situation, within the confines of her employment position – the

individual Defendants have immunity.” Id. Not so. As just discussed, Buddenberg spoke on matters

that, for the Sixth Circuit, are of public concern; and her motives for doing so are irrelevant. Because

these conclusions are clearly established, Defendants’ surmises don’t afford them immunity.

        Second, District Defendants’ argument claims, “Buddenberg clearly thought she was

performing her job ‘responsibilities.’ ECF No. 215-1, PageID#11811–12. So how can it be that the

Board would know she was not?” (PageID#11938.) But as shown above, and as Defendants

admitted in testimony cited in Buddenberg’s own summary-judgment motion, this isn’t true. As

discussed above, Buddenberg nowhere purported to characterize the nature of her job

responsibilities, though she did on occasion express what she believed her moral convictions

required her to do. But even if it were true, DeCrane teaches that her subjective beliefs are irrelevant.

In deciding what an employee intended by her speech, instead, a court should ask how a reasonable

person would understand her intention, since such an “objective” approach “might better comport

with our cases given that they treat Garcetti as raising a legal issue.” DeCrane, 12 F.4th at 597 (citing

Mayhew v. Town of Smyrna, Tenn., 856 F.3d, 456, 462–64).

        “[T]o the extent many of the complaints came directly in response to a Board directive to tell

them her grievances,” District Defendants also argue, “there is clear law that an instruction to air

concerns about a workplace, before a Board, renders the speech unprotected.” (PageID#11938,

citing Davidson v. Arlington Cmty. Sch. Bd. of Educ., 847 F. App’x 304, 309 (6th Cir. 2021). But as

shown above, the board gave no employment “directive”; a member just asked, “anything else?”

Such question cannot, on a dime, convert otherwise protected speech into government speech.

        Nor does Davidson stand, as Defendants claim it does, for the simple proposition that an

“[e]mployee invited by employer to speak to Board was not entitled to protection.”

(PageID#11938.) The case is far more nuanced. Defendants don’t discuss Davidson’s facts because



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they are so readily distinguishable from those presented here. In Davidson, a school board invited a

principal to comment on a school-policy issue. Her “opinion was specifically solicited [because] the

Board might value her input as principal of Donelson.” Id. at 309. Here, Buddenberg wasn’t invited

to address the board but sought out the opportunity herself.

        The facts, moreover, showed that, in complying with the board’s request, the principal acted

in her capacity as a high-ranking school official. “The record demonstrates that Davidson’s speech

was within her ordinary job responsibilities.” So did the “context” of her speech. “She presented her

views at a work session before Mason and the ACS Board, who were formulating a five-year

strategic plan for the district, and her audience then decided to approve Davidson’s

recommendation …” Id.

        Also undercutting Davidson’s contention that she spoke as a private citizen was the fact that

“[she] admitted she would not have communicated with the Board without the permission of

Mason, her immediate superior. She also specifically avoided saying anything ‘critical of Ms. Mason’

because Mason was her ‘boss’ and she did not want to be ‘insubordinate.’” Id.

        None of these circumstances is present here. Buddenberg wasn’t invited to speak with the

board but requested to do so. The board wasn’t seeking her “valuable input” on a controversial

policy issue. She sought no “permission” from Weisdack and never indicated that she needed it

before she could approach the board. Indeed, her supervisor Mix warned her not to. Mix Dep. Vol.

3 at 133:10–16, ECF No. 208-1, PageID#10372.

        And far from wishing not to say anything “critical” of her supervisor, she approached the

board precisely to voice her concerns about Weisdack’s improper and unethical conduct.

        What Buddenberg alleged in this connection, and the Sixth Circuit affirmed, has all been

proven in this record, as recited in the Facts above and, citing Defendants’ own admissions, in

Buddenberg’s own dispositive motion.



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        District Defendants don’t address whether it was clearly established that actions such as

those taken against Buddenberg are adverse actions or—what amounts to the same thing—whether

a reasonable public official would know this. Buddenberg therefore need say no more on the subject

than what she has already said, above, on the topic of adverse actions.

        One last point on qualified immunity. Because, as shown throughout this brief, District

Defendants’ qualified-immunity argument (PageID#11936–68) rests so heavily on misleading and

disputed facts—and improper factual inferences they demand in their own favor—the Court should

deny them qualified immunity. See, e.g., McDonald v. Flake, 814 F.3d 804, 817 (6th Cir. 2016)

(sanctions discussion where defendant’s interlocutory, qualified-immunity appeal did not accept

plaintiff’s facts as true); Howlett v. City of Warren 852 F. App’x. 899, 901–02 (6th Cir. 2021) (finding

frivolous supervisor’s fact-based appeal from district court’s qualified-immunity denial and

municipality’s appeal from summary-judgment denial on Monell claim without making any serious

argument that appellate jurisdiction was proper; allowing for sanctions).

    F. This case should proceed to trial on Buddenberg’s claim, under Ohio Rev. Code §
       2307.60, for civil liability for criminal acts.

        Ohio Rev. Code § 2307.60 creates a civil right of action in favor of victims of criminal acts.

District Defendants here have violated Ohio Rev. Code §§ 2921.05 and 2921.45 and are therefore

liable to Buddenberg for any damages she suffered as a result.

        1. Individual Defendants violated Ohio Rev. Code § 2921.05 because they retaliated
           against a public servant discharging her duties.

        Ohio Rev. Code § 2921.05(A) provides that

                [n]o person, purposely and by force or by unlawful threat of harm to any
                person or property, shall retaliate against a public servant, a party official, or
                an attorney or witness who was involved in a civil or criminal action or
                proceeding because the public servant, party official, attorney, or witness
                discharged the duties of the public servant, party official, attorney, or witness.




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Under § 2921.05(C), persons who violate subdivision (A) are “guilty of retaliation, a felony of the

third degree.” And, by virtue of § 2307.60, they potentially become civilly liable to their victims.

        As described in the Facts section above, District Defendants engaged in numerous acts of

retaliation against Buddenberg. Many of these acts constitute the “unlawful threats of harm” the

section criminalizes. (The section nowhere says that the threatened “harm” must be physical or

bodily.) And Buddenberg is indisputably a “public servant” protected by the section. If the Court

determines that her speech was as a public servant rather than private citizen—which as shown

above, it shouldn’t, then Defendants accordingly are guilty of the crime of retaliation. In any case,

the evidence shows that District Defendants retaliated against her for discharging other duties as a

public servant. See, e.g., Buddenberg Suppl. Decl. at ¶ 5, ECF No. 257-1, PageID#14651–52.

Buddenberg was also a witness involved civil proceedings, namely her EEOC proceeding required

for her to file civil suit and Dan Mix’s EEOC proceeding. So District Defendants are equally liable

under this prong as well. And, because Buddenberg was harmed by their acts, they are liable to her

under Ohio Rev. Code § 2307.60.

        In their only argument against civil liability under § 2921.05, Defendants suggest that

Buddenberg doesn’t satisfy the terms of the statute because she “has not alleged or established that

she was involved in a civil or criminal action or proceeding because she discharged her duties.”

PageID#11938–39. But Defendants misread the statute: public servants like Buddenberg are not

required to have been “involved in a civil or criminal action or proceeding” to be victimized by

retaliation; that phrase applies only to attorneys and witnesses.

        In State v. Matthews, 2013-Ohio-2183, 2013 WL 2326417 (5th Dist. Fairfield Cty. May 16,

2013), the court carefully examined § 2921.05’s structure and concluded that the legislature

“intended … to prohibit retaliation against three categories of individuals: (1) the public servant, (2)

the party official, or (3) the attorney or witness who was involved in a civil or criminal action or



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proceeding.” Id. at * 2. The modifier “involved in a civil or criminal action or proceeding,” the court

concluded, applies only to the third category:

        The placement of the comma before “or an attorney or witness” in the context of
        this sentence clearly establishes the third category of potential victims of retaliation
        encompasses attorneys or witnesses who were involved in civil or criminal actions or
        proceedings. The use of “or” before the word “attorney” would be superfluous if the
        phrase “who was involved in a civil or criminal action or proceeding” was meant to
        modify each category.

Id. The statute thus does not require, for criminal liability to attach, that either public-servant or

party-official victims have been involved in a civil or criminal action or proceeding.

        The Matthews court underscored that Ohio’s pattern jury instructions support its plain-

language statutory reading. For § 2921.05, the instructions enumerate the same three categories of

potential retaliation victims the court identified and, with the use of parentheses, separate public

servants and party officials from “…attorneys… and witnesses… who [were] involved in a [civil]

[criminal] action or proceeding.” Id. (quoting 2 OJI–CR 521.05(1)). So again, it is only attorneys and

witnesses—not party officials or public servants—who must, to state a claim under § 2921.05, allege

their involvement in a civil or criminal proceeding.

        Buddenberg has amply supported the District Defendants’ liability for retaliation under

§ 2921.05. And because she has shown that, when properly construed, the statute prohibits exactly

the type of conduct in which Defendants engaged—against exactly the categories of victims into

which she fits—the Court should deny their summary-judgment motion on this claim.

        2. Defendants violated Ohio Rev. Code § 2921.45 because they knowingly deprived,
           conspired, and attempted to deprive Buddenberg of constitutional and statutory
           rights.

        Ohio Rev. Code § 2921.45(A) provides that “No public servant, under color of his office,

employment, or authority, shall knowingly deprive, or conspire or attempt to deprive any person of

a constitutional or statutory right.” (emphasis added). “Public servant” includes any officer, employee,




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or agent of a political subdivision of the state, whether in a temporary or permanent capacity, and

any person “performing ad hoc a governmental function.” Ohio Rev. Code § 2921.01(A)–(B). A

plaintiff must prove that the defendant: (1) knowingly deprived or conspired or attempted to deprive

plaintiff of a constitutional or statutory right; (2) under color of state law; and (3) caused damages to

plaintiff. Ohio Rev. Code § 2921.45, 2921.45(A); Wagner v. Metro. Nashville Airport Auth., 772 F.2d

227, 229 (6th Cir. 1985); Lugar v. Edmonson Oil Co., Inc., 457 U.S. 922, 924 (1982).

        “A person acts knowingly, regardless of purpose, when the person is aware that the person's

conduct will probably cause a certain result or will probably be of a certain nature. A person has

knowledge of circumstances when the person is aware that such circumstances probably exist.”

Ohio Rev. Code § 2901.22(B).

        District Defendants’ only argument against liability under this statute is the conclusory

pronouncement that they “did not deprive Buddenberg of any constitutional or statutory right.”

(PageID#11939.) Unfortunately for Defendants, Buddenberg has already shown that they deprived

her of both types of rights.

        Defendants’ constitutional argument rises or falls with the success or failure of the First

Amendment arguments Buddenberg refuted above. Thus, for all the reasons Buddenberg there

explains, Defendants lose the argument. They can’t take refuge in qualified immunity, moreover,

because that doctrine does not shield them from state-law claims. Even if District Defendants are

entitled to qualified immunity against § 1983 liability, then, no comparable immunity offers them

refuge from liability under Ohio Rev. Code §§ 2307.60 and 2921.45.

        But Defendants also lose summary judgment because § 2921.45 encompasses statutory, not

just constitutional, rights. As Buddenberg showed above District Defendants violated Title VII and

the Equal Pay Act. As she will show below, they violated Ohio Rev. Code §§ 4112 and 4111.17(D),

too. In the process, they incurred liability under § 2921.45 as well. Defendants’ only argument



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against liability for these violations consists in their embrace of a “but-for” causation standard,

which Buddenberg has demonstrated she readily meets. And Defendants are procedurally barred

from introducing new arguments via a reply brief.

    G. Buddenberg’s Ohio Rev. Code § 4111.17 claim should proceed because Defendants
       retaliated against her for reporting a prohibited wage disparity in violation of
       subsection (D).

        Ohio Rev. Code § 4117(A) imposes liability on an employer that “discriminate[s] in the

payment of wages on the basis of race, color, religion, sex, national origin, or ancestry…” Subsection

(D) of the statute also imposes liability on an employer that “discriminate[s] against any employee

because such employee makes a complaint or institutes, or testifies in, any proceeding under this section.”

(Emphasis added.)

        In their motion, District Defendants argue that Buddenberg’s § 4111.17 claim should be

dismissed because “[s]he has made no allegations that she was personally discriminated against in the

payment of wages based on her race, color, religion, sex, age, national origin, or ancestry.”

PageID#11939. They thus mistakenly assume that, to state a claim under this statute, an employee

must complain about a wage disparity that directly affects her; they disregard subsection (D)’s

prohibition of retaliation against an employee who makes a complaint about, or who initiates or testifies

in any proceeding alleging, such discrimination.

        There is no statutory warrant for Defendants’ interpretation. Subsection (D) does not restrict

the class of employees about whose wages a plaintiff can complain—or in whose proceeding she can

testify. Its reference to “any” proceeding, on the contrary, implies that she can complain on behalf

of, or otherwise support, anyone victimized by a prohibited wage disparity. Any contrary

interpretation would also undermine the statute’s fair-wage/anti-discrimination purpose.

        It is undisputed that among the complaints Buddenberg made to the board was that Amanda

Hill was receiving a substantially lower wage than a male colleague performing essentially the same



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work and that Weisdack failed to correct the situation. See Weisdack Dep. Vol. 1 at 141:15–18,

PageID#2095. See also Buddenberg Dep. Vol. 1, ECF No. 203-1, 62:1–9, PageID#8522 (“Mr.

Weisdack was presented with this and chose not to act on correcting it.”); id. at 68:10–12,

PageID#8528 (Hill and Tusick expressed “concern” over the “substantial difference” in pay); id. at

76:7–11, PageID#8536 (Hill was “disturbed that her pay was significantly less”). Thus when, as

Buddenberg has established, Defendants retaliated against her for so complaining, they violated

§ 4111.17(D). Defendants fail even to address this argument and so are not entitled to summary

judgment on the claim.

    H. Fact issues preclude summary judgment for District Defendants on Buddenberg’s
       “aiding and abetting” claim under Ohio Rev. Code § 4112.02(J).

        Under Ohio Rev. Code § 4112(J), it is unlawful for “any person” to “aid, abet, incite,

compel, or coerce the doing of” or “attempt directly or indirectly to commit” any act declared to be

an unlawful discriminatory practice under Ohio Rev. Code § 4112.02. This includes the unlawful

employment practice of discriminating in any matter (i.e., retaliating) against any person because she

opposed an unlawful discriminatory practice. Ohio Rev. Code § 4112.02(I). “Person” includes

individuals, legal representatives, and all political subdivisions, authorities, agencies, boards, and

commissions of the state. Ohio Rev. Code § 4112.02(J).

        Aiding and abetting retaliation under Ohio Rev. Code § 4112(J) is established if a defendant

knowingly does something he ought not to do, or omits to do something he ought to do, that

“assists or tends in some way to affect the doing of the thing which the law forbids.” State v. Stepp,

117 Ohio App.3d, 569, 690 N.E.2d 1342 (4th Dist. 1997); see also Woodworth v. Time Warner Cable, Inc.,

No. 1:15-CV-1685, 2015 U.S. Dist. LEXIS 148832 (N.D. Ohio Nov. 2, 2015).

        District Defendants deny that they are liable under Ohio Rev. Code § 4112.02(J). They claim

that the statute applies only to employees who were “involved in or actually made the company’s




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decision to discriminate or retaliate against the plaintiff,” citing Chulsky v. Golden Corral Corp., 583 F.

Supp.3d 1059, 1088 (S.D. Ohio 2022), and not to “the individual Board Members’ failure to

discipline Weisdack or otherwise prevent his allegedly retaliatory behavior.” PageID#11940.

Weisdack himself incurs no liability, they add, because “as discussed above, none of [his] acts rose to

the level of an adverse action …” Id. By cryptically adverting to “reasons discussed above,” finally,

Defendants deny that board members’ “voting to suspend Buddenberg” triggers liability. But for the

reasons Buddenberg does explain below, Defendants’ arguments are non-starters.

        Contrary to Defendants’ contention, first of all, there is no “rule” requiring that a person, to

be liable under the statute, have been “involved in or actually made” the discriminatory decision.6

And even if there were such a rule, Buddenberg has, as discussed below, produced evidence in

spades of each Defendant’s active contribution to the decisions that harmed her.

        Ohio Rev. Code 4112.02(J) provides as follows:

                 It shall be an unlawful discriminatory practice . . . [f]or any person to
                 aid, abet, incite, compel, or coerce the doing of any act declared by
                 this section to be an unlawful discriminatory practice, to obstruct or
                 prevent any person from complying with this chapter or any order
                 issued under it, or to attempt directly or indirectly to commit any act
                 declared by this section to be an unlawful discriminatory practice.

Nothing in this statute purports to require active involvement in a discriminatory decision. For all

the statute says, a person can “aid” or “abet” a discriminatory practice by, e.g., indulging or

acquiescing in another’s discriminatory practice, or by failing to take corrective action, etc.

Recognizing that liability can attach in such circumstances, moreover, would be more in line with the



6 Chulsky took its cue from Cummings v. Greater Cleveland Reg’l. Transit Auth., 88 F. Supp.3d 812 (N.D. Ohio
2015). But Cummings never formulated a rule requiring that, to be liable under the statute, a person have been
“involved in or made” a discriminatory decision. Instead, it merely noted that a plaintiff who had pleaded
such involvement “[met] the standard,” without specifying what that standard is or where it comes from. Id.
at 820. In any event, because no such restriction can be found in the statute, and because the statute must be
construed liberally to achieve its anti-discrimination and anti-retaliation purposes, this Court should reject
Defendants’ reliance on Chulsky (if it even matters, which it doesn’t).


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statute’s remedial purpose. See, e.g., Woodworth v. Time Warner Cable, Case No. 1:15CV1685, 2015 WL

6742085, * 2 (N.D. Ohio Nov. 2, 2015), (“as a remedial statute, Chapter 4112 is to be liberally

construed to promote its purpose of eliminating discrimination”; thus § 4112.02(J) applies to all

“persons” and not just to supervisors and managers) (citing Elek v. Huntington Nat’l Bank, 60 Ohio

St.3d 135, 137 (1991).

        In any event, Buddenberg’s claims can’t be reduced, as Defendants imply, to the contention

that “the individual Board Members fail[ed] to discipline Weisdack or otherwise prevent his allegedly

retaliatory behavior.” This straw man in fact forms no part of Buddenberg’s case, which instead

alleges (what has since been proven) numerous affirmative acts of retaliation by all Defendants.

        Board members, for instance, (1) unanimously voted on March 13, 2017 to suspend

Buddenberg without pay7; (2) imposed, on March 17, a disciplinary order sustaining all but one of

the trumped-up charges against Buddenberg; (3) consigned Buddenberg to a menial, clerical

position, (4) slashed Buddenberg’s compensation nearly in half; and (5) adopted a revised

organization chart that eliminated Buddenberg’s fiscal-coordinator position.

        Defendant Alta Wendell also actively aided and abetted the retaliation against Buddenberg

by, among other things, willfully refusing to provide Buddenberg with information she needed to do

her job (and indeed refusing to interact with Buddenberg at all), even though her own job required

it. This made it impossible for Buddenberg to, for example, identify appropriate expenditure

categories and assess the adequacy of the District’s budget, or to prepare the year-end asset

inventory for the County auditor’s review.

        And for his part, Weisdack, among his many other retaliatory acts, (1) modified

Buddenberg’s work schedule to make it harder for her to take college courses or help care for her



7Defendants fail to explain why the affirmative act of voting doesn’t qualify as “making a decision” or being
“involved in” a decision under even Chulsky’s interpretation of the statute.


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sick grandchild; (2) helped Budzik draft the bogus February 28, 2017 disciplinary-action notice; (3)

helped Budzik draft another disciplinary-action notice of January 31, 2017 to pursue the termination

of Dan Mix’s, who had supported Buddenberg; and (4) participated with Budzik in the March 3,

2017 sham pre-disciplinary hearing.

        By means of a not-so-subtle sleight of hand, Defendants suggest that, for Weisdack’s acts to

constitute Chulsky-style decision-making, they would have to qualify as “adverse actions” under the

retaliation law they already discussed. PageID#11940. But there is no textual (or case-based) reason

to further restrict § 4112.02(J)’s meaning in this way, hardly liberal construction. And even if there

were, Defendants’ argument would fail for all the reasons explained above in sections C.1 and C.2.

Because Defendants’ actions would deter someone from engaging in protected activity, that is, they

readily qualify as “adverse” under applicable law.

        Although they needn’t do so, all the above actions meet the Chulsky standard for “aiding and

abetting” liability.

        But District Defendants have one final argument: § 4112.02(J) permits liability to be imposed

only on individuals, they say, and does not apply to “entities such as the Health District.”

PageID#11940. The argument is misguided as shown below.

        Section 4112.02(J) imposes liability on “any person.” Ohio Rev. Code § 4112.01(A)(1)

provides that “As used in this chapter . . . ‘[p]erson’ includes . . . the state and all political

subdivisions, authorities, agencies, boards, and commissions of the state.” And, as the Northern

District of Ohio noted in Woodworth,

        According to the Ohio Supreme Court, when interpreting a section of the Revised Code, a
        court must give effect to every word and clause in the statute and avoid a construction that
        would render any term meaningless. When the meaning of a statute is clear and
        unambiguous, a court should apply it as written.

Woodworth at *2.




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        The Woodworth court rejected the argument that § 4112.02(J) applies only to supervisors.,

noting that “the section states that it is unlawful for ‘any person’ to aid and abet discriminatory

conduct” and that “Ohio Rev. Code § 4112.01(A)(1) defines ‘person’ broadly.” Id. “If the section

were interpreted to apply to only supervisors and managers, [then] such a construction would render

the term ‘employee’ meaningless in § 4112.01(A)(1)’s definition of ‘person.’” Id.

        Similarly, if § 4112.02(J) were interpreted to apply only to individuals, then such a

construction would render meaningless the unambiguous language “state and all political

subdivisions, authorities, agencies, boards, and commissions of the state” in § 4112.01(A)(1)’s

definition of “person.” See also Gibbs v. Meridian Roofing Corp., Case No. 1:17-cv-245, 2017 WL

6451181, *6 (S.D. Ohio Dec. 18, 2017) (“§ 4112.02(J) applies to ‘persons’ and not just

‘employers’”); Sampson v. Sisters of Mercy of Willard, No. 3:12-cv-00824, 2015 WL 3953053, at *6 (N.D.

Ohio June 29, 2015) (“[§ 4112.02(J)] is not limited to employers but assigns liability to any

‘person.’”).

        Defendants’ citation to Glass v. Tradesmen Int’l, LLC. 5050 F. Supp.3d 747, 762 (N.D. Ohio

2020), doesn’t change the analysis. The fact “a corporate entity may aid and abet itself in

discriminating against a plaintiff,” as the Glass court reasoned, id. at 762, doesn’t mean that it can’t

aid and abet its constituents (or vice versa). Particularly where, as here, an entity acts through a board,

whose individual members actively engage with officials like Weisdack, and with counsel like Budzik,

to retaliate against employees like Buddenberg, there is no reason why liability for aiding and

abetting can’t attach. Buddenberg nowhere argues that the District aided and abetted itself. But its

reciprocal collaboration with Weisdack, Budzik, board members, Wendell, and uncharged others

created enough aiding and abetting liability to go around.

        The Court should thus deny Defendants’ summary-judgment motion on Buddenberg’s Ohio

Rev. Code § 4112.02(J) claim.



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IV.     Conclusion
        While certain of Rebecca Buddenberg’s claims can be resolved in her favor as a matter of

law, the same can’t be said for District Defendants. Their summary-judgment motion is founded on

incomplete and misleading factual assertions and improperly draws inferences in their own favor. It

also frequently misconstrues—when it even discloses—relevant or controlling law. The Court

should deny their motion in its entirety.

Dated: May 8, 2023                                             Respectfully submitted,

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